        Case 15-4192, Document 28, 05/13/2016, 1771725, Page1 of 213




        15-4192-cr
            ___________________________________________

              UNITED STATES COURT OF APPEALS
                   FOR THE SECOND CIRCUIT
            ___________________________________________

                   UNITED STATES OF AMERICA,

                      -v-                      Appellee,

                  STEPHEN M. HOWELLS, II,

                                         Defendant-Appellant.
            ___________________________________________

   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF NEW YORK
__________________________________________________________________

              DEFENDANT’S APPENDIX ON APPEAL
__________________________________________________________________

LISA A. PEEBLES                          Office of the Federal Public Defender
Federal Public Defender                  4 Clinton Square, 3rd Floor
COURTENAY K. MCKEON, on brief            Syracuse, New York 13202
Research & Writing Attorney              315.701.0080
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                                                                                                 APPEAL,CLOSED

                                           U.S. District Court
          Northern District of New York - Main Office (Syracuse) [LIVE - Version 6.1] (Syracuse)
                CRIMINAL DOCKET FOR CASE #: 5:14-cr-00340-GTS All Defendants


          Case title: USA v. Howells et al                           Date Filed: 09/17/2014
                                                                     Date Terminated: 12/22/2015


          Assigned to: Chief Judge Glenn T.
          Suddaby

          Defendant (1)
          Stephen M. Howells, II                      represented by Randi Juda Bianco
          TERMINATED: 12/22/2015                                     Office of the Federal Public Defender -
                                                                     Syracuse Office
                                                                     Districts of Northern New York &
                                                                     Vermont
                                                                     The Clinton Exchange, 3rd Floor
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                                                                     Syracuse, NY 13202
                                                                     315-701-0080
                                                                     Fax: 315-701-0081
                                                                     Email: randi_bianco@fd.org
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Public Defender or
                                                                     Community Defender Appointment

          Pending Counts                                              Disposition
          18:2251.F SEXUAL EXPLOITATION OF
          CHILDREN                                                    Superseded.
          (1-3)
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - CONSPIRACY TO                                   served consecutively. If defendant is
          SEXUALLY EXPLOIT CHILDREN                                   released, defendant is sentenced to
          (1s)                                                        Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be


                                                       A.1
1 of 20                                                                                                      2/12/2016 2:40 PM
CM/ECF LIVE - U.S. District Court - NYND                 https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?690452073347046-L_1_0-1
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                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (2s)                                                        Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (3s)                                                        Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (4s-5s)                                                     Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
          18:2252A.F ACTIVITIES RE
          MATERIAL
          CONSTITUTING/CONTAINING CHILD                               Superseded
          PORNO
          (5)
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
          18:2251.F - SEXUAL EXPLOITATION                             months on Counts 1 through 16 and 20
          OF CHILDREN                                                 years on Counts 17 through 21, all to be
          (6s)                                                        served consecutively. If defendant is
                                                                      released, defendant is sentenced to


                                                       A.2
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                                                                      Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (7s-8s)                                                     Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (9s)                                                        Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (10s-11s)                                                   Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
          18:2251.F - SEXUAL EXPLOITATION
                                                                      years on Counts 17 through 21, all to be
          OF CHILDREN
                                                                      served consecutively. If defendant is
          (12s)
                                                                      released, defendant is sentenced to
                                                                      Supervised Release for LIFE on each
                                                                      count to run concurrently. Special

                                                       A.3
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                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (13s-14s)                                                   Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (15s)                                                       Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2251.F - SEXUAL EXPLOITATION                             served consecutively. If defendant is
          OF CHILDREN                                                 released, defendant is sentenced to
          (16s)                                                       Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2252A.F - POSSESSION OF CHILD
                                                                      served consecutively. If defendant is
          PORNOGRAPHY
                                                                      released, defendant is sentenced to
          (17s-18s)
                                                                      Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be

                                                       A.4
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                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2252A.F - POSSESSION OF CHILD                            served consecutively. If defendant is
          PORNOGRAPHY                                                 released, defendant is sentenced to
          (19s)                                                       Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.
                                                                      Term of imprisonment: 6,960 months (580
                                                                      years). This sentence consists of 360
                                                                      months on Counts 1 through 16 and 20
                                                                      years on Counts 17 through 21, all to be
          18:2252A.F - POSSESSION OF CHILD                            served consecutively. If defendant is
          PORNOGRAPHY                                                 released, defendant is sentenced to
          (20s-21s)                                                   Supervised Release for LIFE on each
                                                                      count to run concurrently. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $2,100. Fine: waived. Restitution to be
                                                                      determined.

          Highest Offense Level (Opening)
          Felony

          Terminated Counts                                           Disposition
          None

          Highest Offense Level (Terminated)
          None

          Complaints                                                  Disposition
          None


          Assigned to: Chief Judge Glenn T.
          Suddaby

          Defendant (2)
          Nicole F. Vaisey                            represented by Bradford C. Riendeau
          TERMINATED: 12/22/2015                                     Office of Bradford C. Riendeau


                                                       A.5
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                                                                      637 Academy Street
                                                                      Watertown, NY 13601
                                                                      315-786-8536
                                                                      Fax: 315-786-8536
                                                                      Email: riendeau@northnet.org
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED
                                                                      Designation: CJA Appointment

          Pending Counts                                              Disposition
                                                                      Term of imprisonment: 3,600 months (or
                                                                      300 years). This sentence consists of 360
                                                                      months on each count to be served
          18:2251.F - CONSPIRACY TO
                                                                      consecutively. If the defendant is released,
          SEXUALLY EXPLOIT CHILDREN
                                                                      defendant is sentenced to a term of
          (1s)
                                                                      supervised release of LIFE. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $1,000. No fine.
                                                                      Term of imprisonment: 3,600 months (or
                                                                      300 years). This sentence consists of 360
                                                                      months on each count to be served
          18:2251.F - SEXUAL EXPLOITATION
                                                                      consecutively. If the defendant is released,
          OF CHILDREN
                                                                      defendant is sentenced to a term of
          (2s-3s)
                                                                      supervised release of LIFE. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $1,000. No fine.
                                                                      Term of imprisonment: 3,600 months (or
                                                                      300 years). This sentence consists of 360
                                                                      months on each count to be served
          18:2251.F - SEXUAL EXPLOITATION
                                                                      consecutively. If the defendant is released,
          OF CHILDREN
                                                                      defendant is sentenced to a term of
          (4s)
                                                                      supervised release of LIFE. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $1,000. No fine.
                                                                      Term of imprisonment: 3,600 months (or
                                                                      300 years). This sentence consists of 360
                                                                      months on each count to be served
          18:2251.F - SEXUAL EXPLOITATION
                                                                      consecutively. If the defendant is released,
          OF CHILDREN
                                                                      defendant is sentenced to a term of
          (5s-6s)
                                                                      supervised release of LIFE. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $1,000. No fine.
          18:2251.F - SEXUAL EXPLOITATION                             Term of imprisonment: 3,600 months (or
          OF CHILDREN                                                 300 years). This sentence consists of 360
          (7s)                                                        months on each count to be served

                                                       A.6
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                                                                      consecutively. If the defendant is released,
                                                                      defendant is sentenced to a term of
                                                                      supervised release of LIFE. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $1,000. No fine.
                                                                      Term of imprisonment: 3,600 months (or
                                                                      300 years). This sentence consists of 360
                                                                      months on each count to be served
          18:2251.F - SEXUAL EXPLOITATION
                                                                      consecutively. If the defendant is released,
          OF CHILDREN
                                                                      defendant is sentenced to a term of
          (8s-9s)
                                                                      supervised release of LIFE. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $1,000. No fine.
                                                                      Term of imprisonment: 3,600 months (or
                                                                      300 years). This sentence consists of 360
                                                                      months on each count to be served
          18:2251.F - SEXUAL EXPLOITATION
                                                                      consecutively. If the defendant is released,
          OF CHILDREN
                                                                      defendant is sentenced to a term of
          (10s)
                                                                      supervised release of LIFE. Special
                                                                      Assessment: $100 on each count for a total
                                                                      of $1,000. No fine.

          Highest Offense Level (Opening)
          Felony

          Terminated Counts                                           Disposition
          18:2251.F SEXUAL EXPLOITATION OF
          CHILDREN                                                    Superseded
          (1-2)
          18:2251.F SEXUAL EXPLOITATION OF
          CHILDREN                                                    Superseded
          (4)

          Highest Offense Level (Terminated)
          Felony

          Complaints                                                  Disposition
          None



          Plaintiff



                                                       A.7
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          USA                                               represented by Lisa M. Fletcher
                                                                           Office of the United States Attorney -
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                                                                           Fax: 315-448-0658
                                                                           Email: lisa.fletcher@usdoj.gov
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: Assistant US Attorney

                                                                            Tamara Thomson
                                                                            Office of United States Attorney -
                                                                            Syracuse Office
                                                                            100 South Clinton Street
                                                                            P.O. Box 7198
                                                                            Syracuse, NY 13261
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                                                                            Fax: 315-448-0658
                                                                            Email: tamara.thomson@usdoj.gov
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: Assistant US Attorney

                                                                            Geoffrey J.L. Brown
                                                                            Office of United States Attorney -
                                                                            Syracuse Office
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                                                                            Fax: 315-448-0689
                                                                            Email: geoffrey.brown2@usdoj.gov
                                                                            TERMINATED: 12/16/2014
                                                                            Designation: Assistant US Attorney


          Date Filed       #   Docket Text
          09/17/2014           TEXT Minute Entry for proceedings held before US Magistrate Judge Andrew T.
                               Baxter: GRAND JURY makes a partial report and returns Indictment. Tally Sheet is
                               ordered sealed. Sealing Order and Arrest Warrants to be signed. (Court Reporter Sue
                               Byrne) (rjb, ) (Entered: 09/18/2014)
          09/17/2014       1 INDICTMENT as to Stephen M. Howells, II (1) count(s) 1-3, 5, Nicole F. Vaisey (2)
                             count(s) 1-2, 4. (rjb, ) (Entered: 09/18/2014)


                                                            A.8
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          09/17/2014       2 MOTION to Seal by USA as to Stephen M. Howells, II, Nicole F. Vaisey. (rjb, )
                             (Entered: 09/18/2014)
          09/17/2014       3 ORDER granting 2 Motion to Seal as to Stephen M. Howells II (1), Nicole F. Vaisey
                             (2). Signed by Magistrate Judge Therese Wiley Dancks on 9/17/14. (Attachments: # 1
                             Public Sealing Order) (rjb, ) (Entered: 09/18/2014)
          09/17/2014           ORAL MOTION for Writ of Habeas Corpus ad prosequendum by USA as to Stephen
                               M. Howells, II. (rjb, ) (Entered: 09/18/2014)
          09/17/2014           ORAL MOTION for Writ of Habeas Corpus ad prosequendum by USA as to Nicole F.
                               Vaisey. (rjb, ) (Entered: 09/18/2014)
          09/17/2014       4 ORDER granting Motion for Writ of Habeas Corpus ad prosequendum as to Stephen
                             M. Howells II (1). Signed by Magistrate Judge Therese Wiley Dancks on 9/17/14. (rjb,
                             ) (Entered: 09/18/2014)
          09/17/2014       5 ORDER granting Motion for Writ of Habeas Corpus ad prosequendum as to Nicole F.
                             Vaisey (2). Signed by Magistrate Judge Therese Wiley Dancks on 9/17/14. (rjb, )
                             (Entered: 09/18/2014)
          09/18/2014           TEXT Minute Entry for proceedings held before Magistrate Judge Therese Wiley
                               Dancks:Initial Appearance as to Stephen M. Howells, II, Nicole F. Vaisey held on
                               9/18/2014. Appearances: Lisa Fletcher, AUSA and Tamara Thomson, AUSA for the
                               United States; USPO Ellen Phillips. Defendants appear without counsel, copies of the
                               Indictment provided. Defendants are advised of the charges and their rights. Maximum
                               penalties are stated on the record. Financial affidavits are submitted, Judge Dancks
                               appoints counsel for both defendants. Gov't. seeks detention. AUSA Fletcher requests
                               that the Court direct Deft. Howells to comply with his requirement to submit a DNA
                               sample. Judge Dancks will consult with Defendant's counsel and issue an order.
                               Arraignments/Detention Hearings set for 9/23/2014 at 11:30 AM in Syracuse before
                               Magistrate Judge Therese Wiley Dancks. Defendants are remanded to the custody of
                               the USMS. (Court Reporter Eileen McDonough; 10:09AM-10:19AM) (rjb, ) (Entered:
                               09/18/2014)
          09/18/2014       6 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Stephen M. Howells,
                             II. Signed by Magistrate Judge Therese Wiley Dancks on 9/18/14. (rjb, ) (Entered:
                             09/18/2014)
          09/18/2014           TEXT Minute Entry for proceedings held before Magistrate Judge Therese Wiley
                               Dancks:Telephone Conference as to Stephen M. Howells, II held on 9/18/2014.
                               Appearances: Lisa Fletcher, AUSA for the United States; Lisa Peebles, FPD for Deft.
                               Howells. Judge Dancks discusses the issue regarding Deft. Howells DNA sample that
                               was raised at the initial appearance with counsel. FPD Peebles does not contest the
                               sample being taken. Judge Dancks will issue an Order. AUSA Fletcher moves to unseal
                               the case. Request to unseal is granted (Court Reporter Eileen McDonough; 10:38AM-
                               10:45AM) (rjb, ) (Entered: 09/18/2014)
          09/18/2014       7 NOTICE OF ATTORNEY APPEARANCE Tamara Thomson appearing for USA as
                             Co-counsel. (rjb, ) (Main Document 7 replaced on 9/18/2014) (rjb, ). (Entered:
                             09/18/2014)

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           09/18/2014      8 TEXT ORDER as to Stephen M. Howells, II: Court held a telephone conference on the
                             record with FPD Lisa Peebles and AUSA Lisa Fletcher regarding defendant's refusal to
                             submit a DNA sample. Pursuant to 42 U.S.C. Section 14135a, Defendant is ordered to
                             cooperate in the collection of a DNA sample. SO ORDERED by Magistrate Judge
                             Therese Wiley Dancks on 9/18/14. (rjb, ) (Entered: 09/18/2014)
           09/18/2014      9 CJA 20 Appointment of Attorney Bradford C. Riendeau for Nicole F. Vaisey. Refer to
                             the Court's website: http://www.nynd.uscourts.gov/cja.cfm for comprehensive
                             information relating to court appointed representation. Attorneys are reminded that CJA
                             vouchers are to be submitted to the court no later than 45 days after the final disposition
                             of the case, unless good cause is shown. Please refer to Appendix II of the CJA Plan
                             (Guidelines for Submitting Claims for Reimbursement Pursuant to the Criminal Justice
                             Act of the Northern District of New York). Authorized by Magistrate Judge Therese
                             Wiley Dancks on 9/18/14. (rjb, ) (Entered: 09/18/2014)
           09/22/2014     10 NOTICE OF ATTORNEY APPEARANCE: Randi Juda Bianco appearing for Stephen
                             M. Howells, II (Bianco, Randi) (Entered: 09/22/2014)
           09/22/2014     11 NOTICE OF ATTORNEY APPEARANCE: Bradford C. Riendeau appearing for
                             Nicole F. Vaisey (Riendeau, Bradford) (Entered: 09/22/2014)
           09/22/2014     12 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by
                             Stephen M. Howells, II (Bianco, Randi) (Entered: 09/22/2014)
           09/22/2014     13 WAIVER of Detention Hearing by Stephen M. Howells, II (Bianco, Randi) (Entered:
                             09/22/2014)
           09/22/2014     14 ORDER approving waiver of appearance at arraignment and entry of not guilty plea as
                             to Stephen M. Howells, II. Signed by Magistrate Judge Therese Wiley Dancks on
                             9/22/14. (rjb, ) (Entered: 09/22/2014)
           09/22/2014     15 ORDER approving waiver of detention hearing as to Stephen M. Howells, II. Signed by
                             Magistrate Judge Therese Wiley Dancks on 9/22/14. (rjb, ) (Entered: 09/22/2014)
           09/23/2014     16 NOTICE OF ATTORNEY APPEARANCE Geoffrey J.L. Brown appearing for USA
                             for the forfeiture aspects of the case. (Brown, Geoffrey) (Entered: 09/23/2014)
           09/23/2014          TEXT NOTICE OF HEARING CHANGE as to Nicole F. Vaisey:
                               Arraignment/Detention Hearing rescheduled for 9/24/2014 at 11:30 AM in Syracuse
                               before Magistrate Judge Therese Wiley Dancks. (rjb, ) (Entered: 09/23/2014)
           09/24/2014          TEXT Minute Entry for proceedings held before Magistrate Judge Therese Wiley
                               Dancks:Arraignment/Detention Hearing as to Nicole F. Vaisey held on 9/24/2014.
                               Appearances: Tamara Thomson, AUSA and John Duncan, AUSA for the United States;
                               Bradford Riendeau, Esq. for Defendant; USPO Ellen Phillips. Defendant appears with
                               counsel and waives a formal reading of the Indictment. Defendant pleads not guilty, a
                               scheduling order will be issued. Defendant waives her right to a detention hearing.
                               Judge Dancks finds the waiver knowing and voluntary. Attorney Riendeau makes a
                               request that Defendant Vaisey be kept separated from her co-defendant, Gov't. does not
                               object. Judge Dancks grants the request and Defendant is remanded to the custody of
                               the USMS. (Court Reporter Diane Martens; 11:43AM-11:47AM) (rjb, ) (Entered:


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                               09/24/2014)
           09/24/2014     17 CRIMINAL PRETRIAL SCHEDULING ORDER as to Stephen M. Howells, II, Nicole
                             F. Vaisey: Motions to be filed by 10/22/2014; Jury Trial set for 11/17/2014 at 09:30 AM
                             in Syracuse before Judge Glenn T. Suddaby. Signed by Magistrate Judge Therese Wiley
                             Dancks on 9/24/14. (rjb, ) (Entered: 09/24/2014)
           09/25/2014     18 TEXT ORDER: Counsel for Defendant Vaisey's request that she be kept separated from
                             her co-defendant is granted. Defendant Vaisey to be held and transported separately
                             from co-defendant. SO ORDERED by Magistrate Judge Therese Wiley Dancks on
                             9/25/14. (rjb, ) (Entered: 09/25/2014)
           09/26/2014     19 Warrant of Arrest Returned Executed on 9/18/14 in case as to Stephen M. Howells, II.
                             (sal, ) (Entered: 10/02/2014)
           09/26/2014     20 Warrant of Arrest Returned Executed on 9/18/14 in case as to Nicole F. Vaisey. (sal, )
                             (Entered: 10/02/2014)
           10/08/2014          Text Minute Entry for proceedings held before U.S. Magistrate Judge Andrew T.
                               Baxter: GRAND JURY makes a partial report and returns Superseding Indictment.
                               Tally Sheet is ordered sealed. No special requests. Appearances: Lisa M. Fletcher,
                               AUSA; Grand Jury Foreperson. (Stenographer: Kevin Callahan) (mae) (Entered:
                               10/09/2014)
           10/08/2014     21 SUPERSEDING INDICTMENT as to Stephen M. Howells, II (1) Counts 1s, 2s-16s,
                             17s-21s with forfeiture allegation; and Nicole F. Vaisey (2) Counts 1s, 2s-10s with
                             forfeiture allegation. (mae) (Entered: 10/09/2014)
           10/09/2014     22 NOTICE OF OPTION TO WAIVE APPEARANCE AT ARRAIGNMENT as to
                             Stephen M. Howells, II and Nicole F. Vaisey re 21 Superseding Indictment. If the court
                             does not receive the attached form by October 23, 2014 an arraignment will
                             immediately be scheduled. (Attachment: # 1 Waiver of Arraignment) (mae) (Entered:
                             10/09/2014)
           10/14/2014     23 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by
                             Stephen M. Howells, II (Bianco, Randi) (Entered: 10/14/2014)
           10/16/2014     24 ORDER approving 23 Waiver of Presence at Arraignment filed by Stephen M.
                             Howells, II. A plea of not guilty to the 21 Superseding Indictment is entered on behalf
                             of defendant Howells. Signed by U.S. Magistrate Judge Andrew T. Baxter on
                             10/16/2014. (mae) (Entered: 10/16/2014)
           10/20/2014     25 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty by
                             Nicole F. Vaisey (Riendeau, Bradford) (Entered: 10/20/2014)
           10/21/2014     26 ORDER approving 25 Waiver of Presence at Arraignment filed by Nicole F. Vaisey. A
                             plea of not guilty to the 21 Superseding Indictment is entered on behalf of defendant
                             Vaisey. Signed by U.S. Magistrate Judge Andrew T. Baxter on 10/21/2014. (mae)
                             (Entered: 10/21/2014)
           10/21/2014     27 AMENDED CRIMINAL PRETRIAL SCHEDULING ORDER as to Stephen M.
                             Howells, II and Nicole F. Vaisey. Motions to be filed by 11/18/2014. Jury Trial set for


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                               12/15/2014 at 9:30 a.m. in Syracuse before Judge Glenn T. Suddaby. Signed by U.S.
                               Magistrate Judge Andrew T. Baxter on 10/21/2014. (mae) (Entered: 10/21/2014)
           11/05/2014     28 STIPULATION by USA to 90 Day Extension of Time (Fletcher, Lisa) (Entered:
                             11/05/2014)
           11/06/2014     29 ORDER TO CONTINUE - Ends of Justice as to Stephen M. Howells and II, Nicole F.
                             Vaisey: Time excluded from 11/6/14 until 2/3/15. Government discovery due by
                             1/12/15. Defendant discovery due by 1/19/15. Motions to be filed by 1/26/15 and shall
                             be made returnable on 2/26/15 on submit before Judge Glenn T. Suddaby. Any change
                             of plea shall be entered by 3/2/15. All pretrial submissions as set forth in the # 27
                             amended criminal pretrial scheduling order are due by 3/9/15. Jury Trial set for
                             3/23/2015 at 9:00 AM in Syracuse before Judge Glenn T. Suddaby. Signed by Judge
                             Glenn T. Suddaby on 11/6/14. (lmw) (Entered: 11/06/2014)
           12/15/2014     30 NOTICE terminating AUSA Geoffrey J. L. Brown from the case; by Stephen M.
                             Howells, II, Nicole F. Vaisey (Thomson, Tamara) (Entered: 12/15/2014)
           01/27/2015     31 STIPULATION by USA to 60 Day Extension of Time (Fletcher, Lisa) (Entered:
                             01/27/2015)
           02/03/2015     32 ORDER TO CONTINUE - Ends of Justice as to Stephen M. Howells, II and Nicole F.
                             Vaisey: Time excluded from 2/3/15 until 4/3/15. Government discovery due by 3/9/15.
                             Defendant discovery due by 3/16/15. Motions to be filed by 3/23/15 and shall be made
                             returnable on 4/23/15 on submit before Judge Glenn T. Suddaby. Any change of plea
                             shall be entered by 4/27/15. All pretrial submissions as set forth in the # 27 criminal
                             pretrial scheduling order are due by 5/4/15. Jury Trial set for 5/18/2015 at 9:00 AM in
                             Syracuse before Judge Glenn T. Suddaby. Signed by Judge Glenn T. Suddaby on
                             2/3/15. (lmw) (Entered: 02/03/2015)
           04/02/2015     33 STIPULATION by USA to 95 Day Extension of Time (Fletcher, Lisa) (Entered:
                             04/02/2015)
           04/02/2015     34 ORDER TO CONTINUE - Ends of Justice as to Stephen M. Howells, II and Nicole F.
                             Vaisey: Time excluded from 4/2/15 until 7/5/15. Government discovery due by 4/20/15.
                             Defendant discovery due by 4/27/15. Motions to be filed by 5/4/15 and shall be made
                             returnable on 6/4/15 on submit before Judge Glenn T. Suddaby. Any change of plea
                             shall be entered by 6/8/15. All pretrial submissions as set forth in the # 27 criminal
                             pretrial scheduling order are due by 6/15/15. Jury Trial set for 7/6/2015 at 9:00 AM in
                             Syracuse before Judge Glenn T. Suddaby. Signed by Judge Glenn T. Suddaby on
                             4/2/15. (lmw) (Entered: 04/02/2015)
           04/02/2015     35 TRIAL ORDER as to Stephen M. Howells, II and Nicole F. Vaisey: Jury Trial set for
                             7/6/2015 at 9:00 AM in Syracuse before Judge Glenn T. Suddaby. Pretrial Conference
                             set for 6/30/2015 at 11:00 AM IN CHAMBERS in Syracuse before Judge Glenn T.
                             Suddaby. Pretrial Submissions, including motions in limine, due by 6/15/2015.
                             Responses to motions in limine due by 6/22/15. Signed by Judge Glenn T. Suddaby on
                             4/2/15. (lmw) (Entered: 04/02/2015)
           04/15/2015          TEXT NOTICE OF HEARING as to Stephen M. Howells, II: Change of Plea Hearing
                               set for 5/8/2015 at 10:00 AM in Syracuse before Judge Glenn T. Suddaby. (lmw)

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                               (Entered: 04/15/2015)
           04/23/2015     36 AMENDED TRIAL ORDER as to Stephen M. Howells, II and Nicole F. Vaisey: Due to
                             a conflict with the Court's calendar, Jury trial has been RESCHEDULED for 6/22/2015
                             at 9:00 AM in Syracuse before Judge Glenn T. Suddaby. Final Pretrial Conference set
                             for 6/17/2015 at 12:30 PM to be held in chambers in Syracuse before Judge Glenn T.
                             Suddaby. Pretrial submissions, including motions in limine, due by 6/8/15. Responses
                             to motions in limine due by 6/15/15. Signed by Judge Glenn T. Suddaby on 4/23/15.
                             (lmw) (Entered: 04/23/2015)
           05/01/2015          TEXT NOTICE OF HEARING as to Nicole F. Vaisey: Pretrial Conference set for
                               5/14/2014 at 11:00 AM in Syracuse before Judge Glenn T. Suddaby. The Defendant's
                               attendance is required. (lmw) (Entered: 05/01/2015)
           05/04/2015     37 STATUS REPORT - Bill of Particulars setting forth property subject to forfeiture by
                             USA as to Stephen M. Howells, II, Nicole F. Vaisey (Thomson, Tamara) (Entered:
                             05/04/2015)
           05/04/2015     38 STATUS REPORT - Amended Bill of Particulars as to property subject to forfeiture by
                             USA as to Stephen M. Howells, II, Nicole F. Vaisey (Thomson, Tamara) (Entered:
                             05/04/2015)
           05/05/2015          TEXT NOTICE OF HEARING as to Nicole F. Vaisey: CORRECTION IN THE YEAR
                               ONLY: Pretrial Conference set for 5/14/2015 at 11:00 AM in Syracuse before Judge
                               Glenn T. Suddaby. (lmw) (Entered: 05/05/2015)
           05/08/2015          TEXT MINUTE ENTRY for Change of Plea Hearing held on 5/8/15 before Judge
                               Glenn T. Suddaby as to Stephen M. Howells, II (1): Defendant is advised of his
                               constitutional rights and the consequences of pleading guilty. Defendant is sworn and
                               questioned. Defendant waives formal reading of Indictment. Defendant pleads guilty to
                               Counts 1 through 21 of the Indictment and admits to forfeiture allegations. Government
                               states a factual basis for the plea. Maximum possible penalties are stated for the record.
                               Court accepts plea of guilty to Counts 1 through 21 of the Indictment. No plea
                               agreement. Sentencing is scheduled for 9/18/15 at 11:00 a.m. in Syracuse, New York.
                               Court orders a Presentence Report from Probation. Defendant is remanded to USMS.
                               APP: Lisa Fletcher, AUSA and Tamara Thomson, ASUA; Randi Bianco, Esq. for
                               Defendant; CRD: L. Welch (Court Reporter: Jodi Hibbard) (Time: 10:10 am - 11:10
                               am) (lmw) (Entered: 05/08/2015)
           05/08/2015     39 GUIDELINE ORDER as to Stephen M. Howells, II: Sentencing set for 9/18/2015 at
                             11:00 AM in Syracuse before Judge Glenn T. Suddaby. Government Sentencing Memo
                             Deadline 8/28/2015. Defendant Sentencing Memo Deadline 8/28/2015. Signed by
                             Judge Glenn T. Suddaby on 5/8/15. (lmw) (Entered: 05/08/2015)
           05/08/2015     40 STATUS REPORT Offer of Proof by USA as to Stephen M. Howells, II (Fletcher, Lisa)
                             (Entered: 05/08/2015)
           05/08/2015     41 TRANSCRIPT REQUEST by USA as to Stephen M. Howells, II for proceedings held
                             on 5/8/15 before Judge Hon. Glenn T. Suddaby. (Fletcher, Lisa) (Entered: 05/08/2015)




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           05/11/2015     42 MOTION in Limine to Preclude the Affirmative Defense of Duress by USA as to
                             Nicole F. Vaisey. (Attachments: # 1 Certificate of Service)(Fletcher, Lisa) (Entered:
                             05/11/2015)
           05/12/2015          TEXT NOTICE ON # 42 Government's MOTION in Limine to Preclude the
                               Affirmative defense of Duress as to Nicole F. Vaisey (2): Defendant's Response to
                               Motion due by 5/19/2015. (lmw) (Entered: 05/12/2015)
           05/13/2015          TEXT NOTICE OF HEARING as to Nicole F. Vaisey: CHANGE IN TIME ONLY:
                               Pretrial Conference is RESCHEDULED for 5/14/2015 at 10:00 AM in Syracuse before
                               Judge Glenn T. Suddaby. (lmw) (Entered: 05/13/2015)
           05/14/2015          TEXT MINUTE ENTRY for Pretrial Conference and Change of Plea Hearing held on
                               5/14/15 before Judge Glenn T. Suddaby as to Nicole F. Vaisey (2): Judge meets with
                               counsel in chambers with regard to recent motion filed by Government and
                               expectations for upcoming trial. Defendant meets with counsel and decides to enter a
                               guilty plea. Defendant is advised of her constitutional rights and the consequences of
                               pleading guilty. Defendant is sworn and questioned. Defendant pleads guilty to Counts
                               1 through 10 of the Superseding Indictment. Government states a factual basis for the
                               plea. Maximum possible penalties are stated for the record. Court accepts plea of guilty
                               to Counts 1 through 10 of the Indictment. No plea agreement. Sentencing is scheduled
                               for 9/25/15 at 11:00 a.m. in Syracuse, New York. Court orders a Presentence Report
                               from Probation. Defendant is remanded to USMS. APP: Lisa Fletcher, AUSA;, Esq. for
                               Defendant. CRD: L. Welch (Court Reporter: Jodi Hibbard) (Time: 10:00 am - 11:35
                               am) (lmw) (Entered: 05/14/2015)
           05/14/2015     43 GUIDELINE ORDER as to Nicole F. Vaisey: Sentencing set for 9/25/2015 at 11:00
                             AM in Syracuse before Judge Glenn T. Suddaby. Government Sentencing Memo
                             Deadline 9/4/2015. Defendant Sentencing Memo Deadline 9/4/2015. Signed by Judge
                             Glenn T. Suddaby on 5/14/15. (lmw) (Entered: 05/14/2015)
           05/14/2015     44 STATUS REPORT OFFER OF PROOF by USA as to Nicole F. Vaisey (Fletcher, Lisa)
                             (Entered: 05/14/2015)
           05/14/2015     45 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Stephen M.
                             Howells, II: Change of Plea held on 5/8/2015 before Judge Glenn T. Suddaby, Court
                             Reporter: Jodi L. Hibbard,Telephone number: (315) 234-8547. IMPORTANT
                             NOTICE - REDACTION OF TRANSCRIPTS: In order to remove personal
                             identifier data from the transcript, a party must electronically file a Notice of Intent to
                             Request Redaction with the Clerk's Office within 5 business days of this date. The
                             policy governing the redaction of personal information is located on the court website
                             at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent to Redact
                             is filed within 5 business days of this date, the court will assume redaction of personal
                             identifiers is not necessary and the transcript will be made available on the web 90 days
                             from today's date. Transcript may be viewed at the court public terminal or purchased
                             through the Court Reporter before the deadline for Release of Transcript Restriction.
                             After that date it may be obtained through PACER. Redaction Request due 6/4/2015.
                             Redacted Transcript Deadline set for 6/15/2015. Release of Transcript Restriction set
                             for 8/12/2015. Notice of Intent to Redact due by 5/19/2015 (jlh, ) (Entered: 05/14/2015)


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           07/20/2015     46 Letter from Tamara B. Thomson as to Stephen M. Howells, II requesting that the
                             proposed Preliminary Order of Forfeiture be signed, and filed, with an electronically
                             certified copy returned. (Attachments: # 1 Proposed Order/Judgment)(Thomson,
                             Tamara) (Entered: 07/20/2015)
           07/20/2015     47 Letter from Tamara B. Thomson as to Nicole F. Vaisey requesting that the proposed
                             Preliminary Order of Forfeiture be signed, and filed, with an electronically certified
                             copy returned. (Attachments: # 1 Proposed Order/Judgment)(Thomson, Tamara)
                             (Entered: 07/20/2015)
           07/22/2015          TEXT NOTICE OF HEARING as to Nicole F. Vaisey: Due to a conflict with the
                               Court's calendar, Sentencing is RESCHEDULED for 9/24/2015 at 11:00 AM in
                               Syracuse before Judge Glenn T. Suddaby. Sentencing memorandum are due by
                               9/3/15.(lmw) (Entered: 07/22/2015)
           08/03/2015          TEXT NOTICE OF HEARING as to Stephen M. Howells, II: Sentencing is
                               RESCHEDULED for 10/22/2015 at 10:30 AM in Syracuse before Judge Glenn T.
                               Suddaby. Sentencing memorandum are due by 10/1/15. (lmw) (Entered: 08/03/2015)
           08/03/2015          TEXT NOTICE OF HEARING as to Nicole F. Vaisey: Sentencing is RESCHEDULED
                               for 10/22/2015 at 11:00 AM in Syracuse before Judge Glenn T. Suddaby. Sentencing
                               memorandum are due by 10/1/15.(lmw) (Entered: 08/03/2015)
           08/04/2015     48 PRELIMINARY ORDER DIRECTING FORFEITURE OF PROPERTY: as to Stephen
                             M. Howells, II. Signed by Judge Glenn T. Suddaby on 8/4/2015. {Certified copy
                             provided to Tamara B. Thomson electronically} (jmb) (Entered: 08/04/2015)
           08/04/2015     49 PRELIMINARY ORDER DIRECTING FORFEITURE OF PROPERTY: as to Nicole
                             F. Vaisey. Signed by Judge Glenn T. Suddaby on 8/4/2015. {Certified copy provided to
                             Tamara B. Thomson electronically} (jmb) (Entered: 08/04/2015)
           09/11/2015     50 PRESENTENCE INVESTIGATION REPORT - INITIAL DISCLOSURE [LODGED]
                             as to Stephen M. Howells, II. The Presentence Investigation Report in this matter is
                             now available for review. Any objections to the report shall be served on the Probation
                             Office within 14 days of this notice, by mailing a hard copy to the Probation Officer.
                             Please contact the probation officer who prepared the report if you have any
                             questions.[This document has been electronically lodged with the Court and is
                             viewable by ONLY the attorney for the government, the attorney for the
                             defendant, and the presiding judge. It is not a filed document, therefore is not
                             available for public inspection. Any further distribution or dissemination is
                             prohibited.] (bjw, ) (Entered: 09/11/2015)
           09/11/2015     51 PRESENTENCE INVESTIGATION REPORT - INITIAL DISCLOSURE [LODGED]
                             as to Nicole F. Vaisey. The Presentence Investigation Report in this matter is now
                             available for review. Any objections to the report shall be served on the Probation
                             Office within 14 days of this notice, by mailing a hard copy to the Probation Officer.
                             Please contact the probation officer who prepared the report if you have any
                             questions.[This document has been electronically lodged with the Court and is
                             viewable by ONLY the attorney for the government, the attorney for the
                             defendant, and the presiding judge. It is not a filed document, therefore is not
                             available for public inspection. Any further distribution or dissemination is

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                               prohibited.] (bjw, ) (Entered: 09/11/2015)
           09/14/2015          TEXT NOTICE OF HEARING as to Stephen M. Howells, II: Sentencing is
                               RESCHEDULED for 12/17/2015 at 10:00 AM in Syracuse before Chief Judge Glenn T.
                               Suddaby. Sentencing memorandum are due by 11/25/15.(lmw) (Entered: 09/14/2015)
           09/14/2015          TEXT NOTICE OF HEARING as to Nicole F. Vaisey: Sentencing is RESCHEDULED
                               for 12/17/2015 at 10:30 AM in Syracuse before Chief Judge Glenn T. Suddaby.
                               Sentencing memorandum are due by 11/25/15. (lmw) (Entered: 09/14/2015)
           09/15/2015     52 PROCESS RECEIPT AND RETURN: Type of Process: Notice of Forfeiture. Notice of
                             Forfeiture served upon potential third party claimant Maryann Howells via certified
                             mail on 9/3/2015. Article Number 7011 0470 0003 6293 0151. (mc) (Entered:
                             09/17/2015)
           09/18/2015     53 PROCESS RECEIPT AND RETURN: Type of Process: Arrest of Property. Items 1 and
                             2 on the attached list in USMS custody as of 9/16/2015. Items 3 through 8 in USMS
                             custody as of 8/27/2015. (mc) (Entered: 09/18/2015)
           10/19/2015     54 SERVICE by Publication of Notice of Forfeiture; Last publication date September 25,
                             2015 in official government internet site www.forfeiture.gov. The claim deadline is
                             10/26/2015; filed by USA (Thomson, Tamara) (Entered: 10/19/2015)
           11/24/2015     55 SENTENCING MEMORANDUM by Stephen M. Howells, II (Bianco, Randi)
                             (Additional attachment added on 11/30/2015: # 1 Redacted Exhibits) (lmw). (Entered:
                             11/24/2015)
           11/24/2015     56 SENTENCING MEMORANDUM by USA as to Stephen M. Howells, II (Fletcher,
                             Lisa) (Entered: 11/24/2015)
           11/25/2015     57 SENTENCING MEMORANDUM by Nicole F. Vaisey (Riendeau, Bradford) (Entered:
                             11/25/2015)
           11/30/2015     58 SENTENCING MEMORANDUM by USA as to Nicole F. Vaisey (Fletcher, Lisa)
                             (Entered: 11/30/2015)
           12/03/2015     59 Supplemental SENTENCING MEMORANDUM by USA as to Stephen M. Howells, II
                             (Fletcher, Lisa) (Entered: 12/03/2015)
           12/04/2015     60 PRESENTENCE INVESTIGATION REPORT - FINAL DISCLOSURE [LODGED] as
                             to Stephen M. Howells, II. The final version of the Presentence Investigation Report,
                             including all revisions and the most recent Addendum is now available for review. This
                             version of the report will be used by the Court at the time of sentencing. [This
                             document has been electronically lodged with the Court and is viewable by ONLY
                             the attorney for the government, the attorney for the defendant, and the presiding
                             judge. Any further distribution or dissemination is prohibited.] (bjw, ) (Entered:
                             12/04/2015)
           12/04/2015     61 PRESENTENCE INVESTIGATION REPORT - FINAL DISCLOSURE [LODGED] as
                             to Nicole F. Vaisey. The final version of the Presentence Investigation Report, including
                             all revisions and the most recent Addendum is now available for review. This version of
                             the report will be used by the Court at the time of sentencing. [This document has


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                               been electronically lodged with the Court and is viewable by ONLY the attorney
                               for the government, the attorney for the defendant, and the presiding judge. Any
                               further distribution or dissemination is prohibited.] (bjw, ) (Entered: 12/04/2015)
           12/15/2015     62 FINAL PRESENTENCE INVESTIGATION REPORT (AMENDED) [LODGED] as to
                             Nicole F. Vaisey. The Presentence Investigation Report and/or Addendum have been
                             AMENDED and supersede any previously submitted versions. This final version
                             includes all revisions and the most recent Addendum, and will be used by the Court at
                             the time of sentencing. [This document has been electronically lodged with the
                             Court and is viewable by ONLY the attorney for the government, the attorney for
                             the defendant, and the presiding judge. It is not a filed document, therefore is not
                             available for public inspection. Any further distribution or dissemination is
                             prohibited.] (bjw, ) (Entered: 12/15/2015)
           12/15/2015     63 FINAL PRESENTENCE INVESTIGATION REPORT (AMENDED) [LODGED] as to
                             Stephen M. Howells, II. The Presentence Investigation Report and/or Addendum have
                             been AMENDED and supersede any previously submitted versions. This final version
                             includes all revisions and the most recent Addendum, and will be used by the Court at
                             the time of sentencing. [This document has been electronically lodged with the
                             Court and is viewable by ONLY the attorney for the government, the attorney for
                             the defendant, and the presiding judge. It is not a filed document, therefore is not
                             available for public inspection. Any further distribution or dissemination is
                             prohibited.] (bjw, ) (Entered: 12/15/2015)
           12/16/2015          TEXT NOTICE OF HEARING as to Stephen M. Howells, II: Due to a conflict with the
                               Court's calendar, Sentencing is RESCHEDULED for 12/17/2015 at 1:00 PM in
                               Syracuse before Chief Judge Glenn T. Suddaby. (lmw) (Entered: 12/16/2015)
           12/16/2015          TEXT NOTICE OF HEARING as to Nicole F. Vaisey: Due to a conflict with the
                               Court's calendar, Sentencing is RESCHEDULED for 12/17/2015 at 1:30 PM in
                               Syracuse before Chief Judge Glenn T. Suddaby. (lmw) (Entered: 12/16/2015)
           12/17/2015     64 Letter as to Stephen M. Howells, II requesting That the Court Issue a Briefing Schedule
                             on Restitution Issue (Fletcher, Lisa) (Entered: 12/17/2015)
           12/17/2015          TEXT Minute Entry for Sentencing held on 12/17/15 before Judge Glenn T. Suddaby
                               for Stephen M. Howells, II (1). No objections to PSR. Defendant sentenced on Counts 1
                               through 21 of the Superseding Indictment to a term of imprisonment of 6,960 months
                               (or 580 years). This term consists of 360 months on Counts 1 through 16 and 20 years
                               on Counts 17 through 21, all to be served consecutively. If Defendant is released,
                               Defendant is sentenced to a term of supervised release of LIFE on each count with
                               standard and special conditions to run concurrently. Special Assessment: $100 on each
                               count for a total of $2,100; fine waived. Judge recommends to BOP that Defendant be
                               housed in the facility in Tucson, AZ for sex offender treatment. Upon the completion of
                               that sex offender treatment, Judge recommends to BOP that defendant be housed as
                               close to his family in Iowa as possible. Defendant advised of appeal rights. Defendant
                               remanded. Government's brief with regard to restitution due by 3/17/16. Defendant's
                               response due by 4/17/16. Defendant waives personal appearance at any future
                               restitution hearing and requests to be moved to Federal BOP immedately. APP: Lisa
                               Fletcher, AUSA; Randi Bianco, Esq., attorney for Defendant; Janna Kulakowski,

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17 of 20                                                                                                           2/12/2016 2:40 PM
CM/ECF LIVE - U.S. District Court - NYND                        https://ecf.nynd.uscourts.gov/cgi-bin/DktRpt.pl?690452073347046-L_1_0-1
                           Case 15-4192, Document 28, 05/13/2016, 1771725, Page20 of 213

                               Probation. CRD: L. Welch (Court Reporter: Eileen McDonough) (Time: 1:20 p.m. -
                               1:49 p.m.) (lmw) (Entered: 12/17/2015)
           12/17/2015          TEXT Minute Entry for Sentencing held on 12/17/15 before Judge Glenn T. Suddaby
                               for Nicole F. Vaisey (2). No objections to PSR. Defendant sentenced on Counts 1
                               through 10 of the Superseding Indictment to a term of imprisonment of 3,600 months
                               (or 300 years). The sentence consists of 360 months on each count to be served
                               consecutively. If the Defendant is released, Defendant is sentenced to a term of
                               supervised release of LIFE on each count with standard and special conditions to run
                               concurrently. Special Assessment: $100 on each count for a total of $1,000; fine
                               waived. Defendant advised of appeal rights. Judge recommends to BOP that Defendant
                               participate in sex offender treatment and to be housed in a facility as close to Colton,
                               NY as possible. Defendant is now in Federal Custody and will serve Federal sentence
                               first. Defendant remanded. APP: Lisa Fletcher, AUSA; Bradford Riendeau, Esq.,
                               attorney for Defendant; Janna Kulakowski, Probation. CRD: L. Welch (Court Reporter:
                               Eileen McDonough) (Time: 1:52 a.m. - 2:20 pm) (lmw) (Entered: 12/17/2015)
           12/18/2015     65 STATUS REPORT notifying the Court that no ancillary claims have been filed and the
                             Preliminary Order of Forfeiture is now final as to the defendant, and no separate final
                             order will be presented by USA as to Stephen M. Howells, II (Thomson, Tamara)
                             (Entered: 12/18/2015)
           12/18/2015     66 STATUS REPORT notifying the Court that no ancillary claims have been filed and the
                             Preliminary Order of Forfeiture is now final as to the defendant, and no separate final
                             order will be presented by USA as to Nicole F. Vaisey (Thomson, Tamara) (Entered:
                             12/18/2015)
           12/22/2015     67 JUDGMENT as to Stephen M. Howells, II (1) on Counts 1 through 21 of the
                             Superseding Indictment: Term of imprisonment: 6,960 months (580 years). This
                             sentence consists of 360 months on each of Counts 1 through 16 and 20 years on each
                             of Counts 17 through 21, all to be served consecutively for a total of 6,960 months (or
                             580 years). If defendant is released, defendant is sentenced to Supervised Release for
                             LIFE on each count to run concurrently. Special Assessment: $100 on each count for a
                             total of $2,100. Fine: waived. Restitution to be determined. An amended judgment will
                             be issued at that time. Signed by Chief Judge Glenn T. Suddaby on 12/22/15. (lmw)
                             (Entered: 12/22/2015)
           12/22/2015     68 JUDGMENT as to Nicole F. Vaisey (2) on Counts 1 through 10 of the Superseding
                             Indictment: Term of imprisonment: 3,600 months (or 300 years). This sentence consists
                             of 360 months on each count to be served consecutively. If the defendant is released,
                             defendant is sentenced to a term of supervised release of LIFE. Special Assessment:
                             $100 on each count for a total of $1,000. No fine. Signed by Chief Judge Glenn T.
                             Suddaby on 12/22/15. (lmw) (Entered: 12/22/2015)
           12/23/2015     69 STATEMENT OF REASONS [LODGED] as to Stephen M. Howells, II [This
                             document has been electronically lodged with the Court and is viewable by ONLY
                             the attorney for the government, the attorney for the defendant, and the presiding
                             judge. It is not a filed document, therefore is not available for public inspection.
                             Any further distribution or dissemination is prohibited.] (dictplp, ) (Entered:
                             12/23/2015)

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18 of 20                                                                                                            2/12/2016 2:40 PM
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                           Case 15-4192, Document 28, 05/13/2016, 1771725, Page21 of 213

           12/23/2015     70 STATEMENT OF REASONS [LODGED] as to Nicole F. Vaisey [This document has
                             been electronically lodged with the Court and is viewable by ONLY the attorney
                             for the government, the attorney for the defendant, and the presiding judge. It is
                             not a filed document, therefore is not available for public inspection. Any further
                             distribution or dissemination is prohibited.] (dictplp, ) (Entered: 12/23/2015)
           12/29/2015     71 NOTICE OF APPEAL by Stephen M. Howells, II No fee paid. (Bianco, Randi)
                             (Entered: 12/29/2015)
           12/30/2015     72 NOTICE OF APPEAL by Nicole F. Vaisey re 68 Judgment, No fee paid. (Riendeau,
                             Bradford) (Entered: 12/30/2015)
           01/05/2016     73 ELECTRONIC NOTICE AND CERTIFICATION: as to Stephen M. Howells, II sent to
                             US Court of Appeals regarding the # 71 Notice of Appeal - Final Judgment. (jmb)
                             (Entered: 01/05/2016)
           01/05/2016     74 ELECTRONIC NOTICE AND CERTIFICATION: as to Nicole F. Vaisey sent to US
                             Court of Appeals regarding the # 72 Notice of Appeal - Final Judgment. (jmb)
                             (Entered: 01/05/2016)
           01/22/2016     75 PROCESS RECEIPT AND RETURN: filed by the USA, Type of Process: Disposal of
                             Property, One Red Pontiac Sunfire and One White Honda Civic were Destroyed on
                             1/10/2016. (jmb) (Entered: 01/26/2016)
           01/29/2016     76 MANDATE of USCA: as to Nicole F. Vaisey regarding the # 72 Notice of Appeal -
                             Final Judgment filed by Nicole F. Vaisey. Appellant Nicole F. Vaisey moves to
                             withdraw her appeal pursuant to FRAP 42(b). The motion is GRANTED. {Mandate
                             issued on 1/29/2016} (jmb) (Entered: 01/29/2016)
           02/04/2016     77 TRANSCRIPT REQUEST by Stephen M. Howells, II for proceedings held on 12/17/15
                             before Judge Suddaby. (Peebles, Lisa) (Entered: 02/04/2016)
           02/12/2016     78 Letter as to Stephen M. Howells, II requesting Restitution Order (Fletcher, Lisa)
                             (Entered: 02/12/2016)
           02/12/2016     79 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Stephen M.
                             Howells, II: Sentencing held on 12/17/2015 before Judge Suddaby, Court
                             Reporter/Transcriber: Eileen McDonough,Telephone number: 315-234-8546.
                             IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In order to remove
                             personal identifier data from the transcript, a party must electronically file a Notice of
                             Intent to Request Redaction with the Clerk's Office within 5 business days of this date.
                             The policy governing the redaction of personal information is located on the court
                             website at www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent to
                             Redact is filed within 5 business days of this date, the court will assume redaction of
                             personal identifiers is not necessary and the transcript will be made available on the
                             web 90 days from today's date. Transcript may be viewed at the court public terminal or
                             purchased through the Court Reporter/Transcriber before the deadline for Release of
                             Transcript Restriction. After that date it may be obtained through PACER. Redaction
                             Request due 3/4/2016. Redacted Transcript Deadline set for 3/14/2016. Release of
                             Transcript Restriction set for 5/12/2016. Notice of Intent to Redact due by 2/17/2016
                             (etm, ) (Entered: 02/12/2016)

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19 of 20                                                                                                            2/12/2016 2:40 PM
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF NEW YORK
________________________________

UNITED STATES OF AMERICA                               Criminal Action No.

                v.                                     5:14-CR-340 (GTS)

STEPHEN M. HOWELLS, II                                 OFFER OF PROOF

                  Defendant.
________________________________


         The defendant is scheduled to appear on May 8, 2015 and enter a plea of guilty to all

counts charged in Superseding Indictment 5:14-CR-340 (hereinafter the Indictment).

         The parties have not entered into a formal plea agreement. The United States submits

this Offer of Proof to provide the Court with a summary                               as to each

of the charged offenses, and the factual basis for an entry of a guilty plea.


                         CLASSIFICATION OF THE OFFENSE AND
                           MAXIMUM POSSIBLE PENALTIES

         Imprisonment

         A violation of 18 U.S.C. § 2251(a), and § 2251(e), as alleged in Counts 1 through 16 of

the Indictment, is a Class B felony. Each count carries a statutory mandatory minimum penalty

of 15 years imprisonment, and a maximum term of 30 years imprisonment.

         A violation of 18 U.S.C. § 2252A (a)(5)(B) and (b)(2), as alleged in Counts 17 through

21 of the Indictment, is a Class C felony with a statutory maximum sentence of 20 years per

count.

         Fine

         Each count of conviction carries a maximum fine of $250,000. 18 U.S.C. § 3571.




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       Supervised Release

       In addition to imposing any other penalty, the sentencing court must require the

defendant to serve a term of supervised release between 5 years and life, to begin after

imprisonment. See 18 U.S.C. § 3583(k). A violation of the conditions of supervised release

during that time period may result in the defendant being sentenced to an additional term of

imprisonment of up to 3 years, except as provided below.

       Required Registration for Sex Offenders

       Under the Sex Offender Registration and Notification Act, the defendant, as a result of

the conviction in this case, must register as a sex offender, and keep the registration current, in

each jurisdiction where the defendant resides, where the defendant is an employee, and where the

defendant is a student. For initial registration purposes, the defendant also must register in New

York as a result of this conviction, even if the defendant resides in a different jurisdiction. A sex

offender who knowingly fails to register or update a required registration may be subject to

prosecution under 18 U.S.C. § 2250, and face a penalty of up to ten years imprisonment.

Further, notwithstanding the description set out above of the consequences of a violation of the

conditions of supervised release, if the defendant, while on supervised release, commits any

criminal offense under chapter 109A, 110, or 117, or section 1201 or 1591, of Title 18 for which

imprisonment for a term longer than 1 year can be imposed, the court must revoke the term of

supervised release and require the defendant to serve a term of imprisonment of not less than 5

years on the violation.

       Restitution

       Pursuant to 18 U.S.C. § 2259(a), the Court is required to order restitution for the full

                          compensable losses as defined at 18 U.S.C. § 2259(b)(3) and(c).



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       In regard to the minor victims depicted in the images and video files involved in the

criminal activity charged in Counts 17       21 of the Indictment, restitution shall be determined by




imposed in recognition of the indisputable role of the [defendant] in the causal process

                                                                                         Paroline v.

United States, __U.S.__, 134. S.Ct. 1710, 1727 (2014).

       The Court may not decline to award restitution be                                 s economic

circumstances or the fact that the victims have, or are entitled to receive compensation for their

injuries from the proceeds of insurance or any other source.

       Forfeiture

       Pursuant to 18 U.S.C. § 2253 and 21 U.S.C. § 853(p), the defendant will consent to entry

of an order directing forfeiture to the United States pursuant to the Forfeiture Allegation in the

Indictment, as supplemented by the Bill of Particulars. This property includes:

               1.     One 2004 red Pontiac Sunfire bearing VIN # 14-FBI-006923, and New

       York registration GCR6443;

               2.     One 2001 white Honda Civic bearing VIN # 2HGES16571H535401, and

New York registration BVZ9284;

               3.     One Antec homemade desktop computer with no serial number,

containing the following five hard drives:

                      a.      One 500GB Seagate hard drive, S/N 5QM11ZRR;

                      b.      One 1.0 TB Western Digital hard drive, S/N WMATV8440832;

                      c.      One 500GB Western Digital hard drive, S/N WCAPW2257346;



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                   d.       One 300GB Seagate hard drive, S/N 5NF133W0;

                   e.       One 3000GB Seagate hard drive, S/N W1F23A2C;

             4.    One Canon G7 Digital camera S/N #3221205452 with charger;

             5.    One iPhone model #A1349, EMC#2422, FCC ID: BCG-E2422B;

             6.    One iPhone model #A1387, IC# 579C-E2430A, FCC ID: BCG-E2430A;

             7.    One Logitech HD 1080 Webcam, S/N 1212LZ0AEPM8;

             8.    One Rabbit TV Flash Drive;

             9.    One Scan Disk 1GB Memory Card;

             10.   One Samsung WB100 Digital Camera, S/N A48CC9AD100FSMJ;

             11.   One Sony PS3 Playstation with controller and cords, S/N CF765432818;

             12.   One Barnes & Noble Nook Tablet;

             13.   One Microsoft XBox 360 Console with 2 controllers, cords and Kinect

Sensor, S/N 532803714705;

             14.   One Toshiba Satellite L655 Laptop;

             15.   One HP Pavilion Laptop, S/N TW12920577;

             16.   One PNY Optima 8GB Memory Card;

             17.   One 100MB Zip Drive;

             18.   One Garmin Nuvi GPS;

             19.   One Kodak Easyshare Digital Camera, S/N KCGRD12366121;

             20.   Assorted VHS Tapes;

             21.

             22.




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       Special Assessment

       The defendant will be required to pay a special assessment of $100 per count, for a total

of $2,100, due and payable at or before sentencing. 18 U.S.C. § 3013.

                             ELEMENTS OF THE OFFENSES

       The following are the elements of the offense of Conspiracy to Sexually Exploit

Children, as charged in Count 1 of the Indictment:

       First:         Two or more persons conspired to employ, use, persuade, induce, entice,

   or coerce a minor to engage in sexually explicit conduct for the purpose of producing a visual

   depiction of such conduct;

       Second:        The defendant joined the conspiracy, either at its inception or sometime

   during its existence, knowing the purpose of the conspiracy and intending to help it succeed;

       Third:         The visual depictions that were the object of the conspiracy were produced

   or intended to be produced using materials that have been mailed, shipped, or transported in

   or affecting interstate or foreign commerce by any means.

       The following are the elements of the offense Sexual Exploitation of Children, as charged

in Counts 2 through 16 of the Indictment:

       First:         The defendant employed, used, persuaded, induced, enticed, or coerced a

minor to engage in sexually explicit conduct;

       Second:        The defendant=s actions were for the purpose of producing visual

depictions of such conduct; and

       Third:         Such visual depictions were produced using materials that have been

mailed, shipped, or transported in or affecting interstate or foreign commerce by any means.




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       The following are the elements of the offense Possession of Child Pornography, as

charged in Counts 17 through 21 of the Indictment:

       First:         That the defendant knowingly possessed material that contains one or

more images of child pornography; and

       Second:        That such child pornography was transported using a means and facility of

in interstate or foreign commerce, or in and affecting such commerce by any means including by

computer, or was produced using materials that had been shipped and transported in and

affecting such commerce by any means, including by computer.

                                FACTUAL BASIS FOR PLEA

As to Count 1:

       As to Count 1, the Indictment alleges that the defendant did conspire with NICOLE F.

VAISEY to employ, use, persuade, induce, entice, and coerce minors, including: V-1, V-2, V-3

and V-6, female children born between 2002 and 2007, to engage in sexually explicit conduct for

the purpose of producing visual depictions of such conduct, where the visual depictions were

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer, in violation of Title 18,

United States Code, Sections 2251(a) and 2251(e).

       The Government would prove the following:

       Beginning in or about 2013, in St. Lawrence County, New York, defendant STEPHEN

M. HOWELLS, II and NICOLE F. VAISEY conspired with one another to engage minors in

sexually explicit conduct for the purpose of producing visual depictions of that conduct.




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        In furtherance of the conspiracy, HOWELLS used his position as a registered nurse to

obtain medications, including controlled substances, for use in sedating the minor victims,

thereby aiding in the commission of the sexual exploitation offenses.

        HOWELLS, in fact, administered substances to each of the victims charged in Count 1 of

the Indictment as a part of the conspiracy. FBI Toxicology reports confirm the following:

        1.      V-1 was drugged with zolpidem (trade name Ambien) and midazolam (trade

name Versed);

        2.      V-2 was drugged with Ambien;

        3.      V-3 was drugged with oxycodone (trade name Oxycontin), oxymorphone (trade

name Opana), morphine, methadone, Ambien, Versed, diazepam (trade name Valium),

nordiazepam (trade name Nordaz), temazepam (trade name Restoril) and alprazolam (trade name

Xanax), with her exposure to these drugs consistent with a time from of June 2013           August

2014;

        4.      V-4 was drugged with Ambien and Oxycontin with her exposure to these drugs

consistent with a time from of September 2013       March 2014.

        In furtherance of the conspiracy, co-conspirator NICOLE F. VAISEY arranged for access

to V-3, a minor female child born in 2006, and made arrangements throughout the course of the

conspiracy for V-3 to spend the night with VAISEY and HOWELLS, during which time the

child was used by VAISEY and HOWELLS to engage in sexually explicit conduct for the

purpose of producing visual depictions of that conduct, using materials (more fully described

below) that had been mailed, shipped, or transported in and affecting interstate and foreign

commerce.




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       In furtherance of the conspiracy, STEPHEN M. HOWELLS, II arranged for access to V-

6, a minor female child born in 2003, and made arrangements, throughout the course of the

conspiracy, for V-6 to spend the night with VAISEY and HOWELLS, during which time the

child was used by VAISEY and HOWELLS to engage in sexually explicit conduct for the

purpose of producing visual depictions of that conduct, using materials (more fully described

below) that that had been mailed, shipped, or transported in and affecting interstate and foreign

commerce.

       In furtherance of the conspiracy, and over the course of several months in 2014,

STEPHEN M. HOWELLS and NICOLE F. VAISEY together developed and planned a scheme

to kidnap minor children for use in sexually explicit conduct and for the purpose of producing

visual depictions of that conduct, using materials that that had been mailed, shipped, or

transported in and affecting interstate and foreign commerce.

       In furtherance of the conspiracy and the plan to kidnap minor children, together, and

separately, HOWELLS and VAISEY made trips to observe and locate possible children to

abduct. In that regard, on or about July 1, 2014 VAISEY sent a text message to HOWELLS

indicating that she had seen                                       to Amish girls) traveling in a

buggy on a deserted road                            been perfect   Additionally, in or about early

August, 2014, HOWELLS had observed two Amish girls at a roadside farm stand at their home

in St. Lawrence County, after which he and VAISEY discussed a plan to abduct the children

from this location.

       In furtherance of the conspiracy, on Wednesday, August 13th, 2014, VAISEY and

HOWELLS drove to the pre-determined Amish farm stand with the intention of abducting the

two girls. T



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                                           A.39
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                                                  vehicle as a means to lure the children inside.



driver.

          In furtherance of the conspiracy, on August 13, 2014, HOWELLS and VAISEY

kidnapped V-1 and V-2, Amish female children ages 11 and 6, respectively, from

roadside farm stand in St. Lawrence County. Pretending to be a customer at the farm stand,

HOWELLS lured and then forced V-1 and V-2 into the back seat of the vehicle, where he used a

syringe to inject V-1 with Versed in an attempt to get her to keep quiet. VAISEY then drove off

with the children in the car, taking them to the St. Lawrence County residence shared by

VAISEY and HOWELLS.

          As a part of the conspiracy, V-1 and V-2 were sexually assaulted by HOWELLS several

times over the course of approximately 25 hours for the purpose of producing visual depictions

of that conduct.     Using materials (more fully described below) that that had been mailed,

shipped, or transported in and affecting interstate and foreign commerce, visual depictions of V-

1 and V-2, and specifically of HOWELLS engaged in sexually explicit conduct with V-1, were

recorded by both VAISEY and HOWELLS at their St. Lawrence County residence.

          As a part of the conspiracy, when not being abused, V-1 and V-2 were restrained together

at the ankles with handcuffs and chains.

          As to Counts 2 - 10

          On the dates alleged in Counts 2    10, STEPHEN M. HOWELLS, II and NICOLE F.

VAISEY did employ, use, persuade, induce, entice, and coerce V-1, V-3, and V-6, minor

children born in 2002, 2006, and 2003, respectively, to engage in sexually explicit conduct for

the purpose of producing visual depictions of such conduct, where the visual depictions were



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produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer. The depictions produced

by HOWELLS and VAISEY were all recorded in their St. Lawrence County residence, and were

                                                                             after the password was

discovered by the FBI in a text message from HOWELLS to VAISEY, wherein VAISEY

requested the password, and HOWELLS provided it to her.

As to each of these substantive counts, the Government would prove the following:

       Count 2:

       On or about September 7, 2013, HOWELLS and VAISEY, acting together, sexually

exploited V-3 and produced depictions of the child engaged in sexually explicit conduct,

including the following:

       1.      A video file bearing part of V-                                    Video 24.wmv

This is a 9:45 video file depicting STEPHEN HOWELLS removing V-                     s, exposing her

vagina. HOWELLS is then depicted masturbating, fondling V-                                    , and

having mouth to vagina contact with her. HOWELLS is then depicted handing a small digital

camera to NICOLE VAISEY who records HOWELLS engaging in mouth to vagina contact with

V-3, as well as additional activity that is not visible from the camera angle.

       2.                         MVI_7681.avi is a 4:06 video file which appears to be the file

created with the digital camera used by VAISEY in the Video 24 file previously described, and

depicts the activity that was not visible due to the camera angle in Video 24             which is

HOWELLS penetrating V-

       Count 3:




                                                 10


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       On or about October 20, 2013, HOWELLS and VAISEY, acting together, sexually

exploited V-3 and produced depictions of the child engaged in sexually explicit conduct,

including the following:

       1.      A video bearing part of V-                                    Video 30.wmv.

This is a 28:20 video file depicting HOWELLS rubbing his penis on V-3

engaging in mouth to vagina contact with her. NICOLE VAISEY is depicted in the bed and seen

filming the abuse with a small digital camera.

       2.      A video file entitled MVI_7729.avi: is a 1:18 video file that appears to be the

video created by NICOLE VAISEY as depicted in the Video 30 file described above. It depicts

HOWELLS rubbing his penis in and on V-3                                           engaging in

mouth to vagina contact with her.

       Count 4:

       On or about November 16, 2013, HOWELLS and VAISEY acting together, sexually

exploited V-3 and produced depictions of the child engaged in sexually explicit conduct,

including the following:

       A video file that includes part of V-                                 Video 31.wmv.

This is a 1:17:46 video file that depicts STEPHEN HOWELLS removing V-3

panties, leaving her naked. HOWELLS is depicted digitally penetrating V-

fondling her buttocks and anus while he has intercourse with NICOLE VAISEY. HOWELLS is

then depicted penetrating V-3                         , and VAISEY is depicted using a small

digital camera to film HOWELLS rubbing his penis in and on V-3

       Count 5:




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       On or about November 17, 2013, HOWELLS and VAISEY, acting together, sexually

exploited V-6 and produced depictions of the child engaged in sexually explicit conduct,

including the following:

       A video file that includes part of V-                           Video 33.wmv. This is a

40:16 video file that depicts STEPHEN HOWELLS getting into bed and fondling V-

using V-      hand to stimulate his penis, removing V-   pants and panties to expose her vagina,

and digitally penetrating V-6. HOWELLS is depicted taking additional photos and videos of V-

6 with a hand-held digital camera, and VAISEY is depicted using the same camera to record

HOWELLS engaging in mouth to vagina contact with V-6. VAISEY is also depicted licking V-

6

       Count 6:

       On or about December 15, 2013, HOWELLS and VAISEY, acting together, sexually

exploited V-6 and produced depictions of the child engaged in sexually explicit conduct,

including the following:

       1.       A video file that includes V-                                    Video 2.wmv.

This is an 18:13 video file depicting V-6, STEPHEN HOWELLS, and NICOLE VAISEY in the

bed                                             . VAISEY is depicted fondling V-6

HOWELLS is depicted fondling V-6                             V-6

HOWELLS is also depicted pouring a clear liquid from a large syringe into V-6

she sleeps.

       2.       A video file that includes V-                                    Video 3.wmv.

This is a 1:08:33 video file which appears to be a continuation of the activity in the previously

                       In this file, HOWELLS is depicted pouring a clear liquid from a test tube



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into V-6                 is later seen pouring a liquid from a large syringe into the test tube and

then into V-6                             is depicted with her hand inside V-6

be fondling V-6                               depicted masturbating while fondling V-6

using V-6                                                            V-6     ttocks. HOWELLS is

also seen shining a flashlight into V-6                      depicted using a small digital camera

to record the activity between HOWELLS and V-6.

       3.       A video file that includes V-                                                 cum

MVI_7837.AVI. This is a 2:41 video file depicting HOWELLS masturbating to ejaculation on

V-6                         is depicted handing the camera that she was using to record this

conduct to HOWELLS who then                                                                  V-6

stomach and breasts.

       Count 7:

       On or about December 29, 2013, HOWELLS and VAISEY, acting together, sexually

exploited V-3 and produced depictions of the child engaged in sexually explicit conduct,

including the following:

                         Video 8.mp4. This is a 31:03 video file depicting V-3, VAISEY and

HOWELLS in the bed at their residence. VAISEY is depicted performing oral sex on V-3 and

using a vibrator on V-       vagina while HOWELLS uses a small handheld digital camera to

record the abuse.      Both VAISEY and HOWELLS are depicted digitally penetrating V-3

vagina. VAISEY is also depicted engaging in mouth to vagina contact with V-3 while

HOWELLS puts his penis in V-3                            is then depicted using a handheld digital

camera to record HOWELLS masturbating over V-                vagina. HOWELLS is then depicted




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putting his penis inside V-3           , and ejaculating, after which VAISEY is depicted engaging

in mouth to vagina contact with V-3.

       Count 8:

       On or about April 18, 2014, HOWELLS and VAISEY, acting together, sexually

exploited V-3 and produced depictions of the child engaged in sexually explicit conduct,

including the following:

       A video file bearing a part of V-                                    Video 14.wmv. This

is a 19:10 video file depicting HOWELLS fondling V-3                     HOWELLS is depicted

removing the camera from its original location, and handing it to VAISEY, who films

HOWELLS rubbing his penis in and on V-3                     and inserting his finger, and then his

penis, into V-    vagina.

       Count 9:

       On or about May 31, 2014, HOWELLS and VAISEY, acting together, sexually exploited

V-3 and produced depictions of the child engaged in sexually explicit conduct, including the

following:

                            Video 16.wmv.”     This is a 1:00:32 video file, depicting NICOLE

VAISEY assisting V-3 to take

is depicted putting V-3 on top of STEPHEN HOWELLS, who is lying on his back, so that V-

head is facing                 feet. HOWELLS is depicted engaging in mouth to vagina contact

with V-3. VAISEY is then depicted engaging in mouth to penis contact with HOWELLS while

at the same time digitally penetrating V-3             V-3 is then depicted sitting on the bed and

manually stimulating HOWELLS penis while VAISEY

HOWELLS then penetrates V-3                                                  depicted filming the



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abuse with a small hand-held digital camera. HOWELLS then ejaculates inside V-3

after which Vaisey engages in mouth to vagina contact with V-3.

       Count 10:

       On or about August 13, 2014, HOWELLS and VAISEY, acting together, sexually

exploited V-1 and produced depictions of the child engaged in sexually explicit conduct,

including the following:

       A video file entitled “ Video2.mov” which depicts V-1 and V-2 in the bed at

                             -2 is asleep during the entirety of the video. VAISEY is depicted in

the bed with the children. HOWELLS depicted fondling V-

mouth to vagina contact with her, and digitally penetrating her vagina. HOWELLS is then

depicted unhooking handcuffs that were used to secure V-1 and V-2 together by the ankles. He

is then depicted re-hooking the handcuffs to V-       wrists, and securing her to a chain that is

attached to the head of the bed. HOWELLS then appears to penetrate V-1 both vaginally and

anally. VAISEY is depicted watching the abuse, and then she is seen taking a digital camera

from near her in the bed, and is depicted filming the abuse of V-1.

As to Counts 11 - 16

       On the dates alleged in Counts 11     16, STEPHEN M. HOWELLS, II did employ, use,

persuade, induce, entice, and coerce V-3, V-4, V-5 and V-6, minor children born in 2006, 2004,

2008, and 2006, respectively, to engage in sexually explicit conduct for the purpose of producing

visual depictions of such conduct, where the visual depictions were produced using materials that

had been mailed, shipped, and transported in and affecting interstate and foreign commerce by

any means, including by computer. The depictions produced by HOWELLS were all recorded in

the St. Lawrence County residence he shared with co-defendant NICOLE VAISEY, and were



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                                                                                  e password was

discovered by the FBI in a text message from HOWELLS to VAISEY, wherein VAISEY

requested the password, and HOWELLS provided it to her.

As to each of these substantive counts, the Government would prove the following:

       Count 11:

       On or about December 16, 2012, HOWELLS sexually exploited V-4 and produced

depictions of the child engaged in sexually explicit conduct, including the following:

                                    MVI_7312.avi, MVI_7314.avi, MVI_7315.avi, and Video

13.wmv.         e files depict the same conduct from differing camera angles. In the videos, V-4



no panties. Together, the four video files depict HOWELLS position V-4 to expose her vagina to

the camera, fondling her vagina, administering an injection to V-4 in her buttocks, masturbating

while watching V-4 on the bed, and masturbating and rubbing his penis on V-4

       Count 12:

       On or about September 22, 2013, HOWELLS sexually exploited V-3, V-5 and V-6, and

produced depictions of the children engaged in sexually explicit conduct, including the

following:

       A video file containing in its title a part of the first names of each of V-3, V-5 and V-6,

               Video 26.wmv                                            -3, V-5 and V-6 all asleep

                                                               residence. As it pertains to V-3,

HOWELLS is depicted repositioning her several times while he sits on the bed and masturbates.

While V-3 is lying on her side, HOWELLS, using a flashlight, appears to insert something into

V-                                        As it pertains to V-5, HOWELLS is depicted removing



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V-                                                                          her anus. HOWELLS is

also depicted shining a light into V-                                   -6, HOWELLS is depicted

pulling up V-     nightshirt, exposing and fondling her breasts, pulling her pants down below her

buttocks, and appearing to insert something into her anus. HOWELLS is also seen shining a

light in V-6

       Count 13:

       On or about November 16, 2013, HOWELLS sexually exploited V-5, and produced

depictions of the child engaged in sexually explicit conduct, including the following:

       A video file that contains a part of V-                                           cock face

MVI_7741.AVI                                    -

                                               NICOLE VAISEY is depicted sitting up in bed next

to HOWELLS and V-5, using her laptop computer while the described abuse is happening.

       Count 14:

       On or about December 13, 2013, HOWELLS sexually exploited V-5 and V-6, and

produced depictions of the children engaged in sexually explicit conduct, including the

following:

       1.       A video file with a title that includes a part of the names of V-5 and V-6, along

      Video 33.mov.                    1:52:13 depicting HOWELLS, in the bed at his residence,

putting his penis on V- s face, wiping fluids from his penis onto V-5       mouth, and using V-5

hand to stimulate his penis. Both NICOLE VAISEY and V-6 are also depicted in the bed during

this video, and appear to be asleep.

       2.       A video file with a title that includes a part of the names of V-5 and V-6, along

                  garters        2.wmv                   1:51:18 video file depicting V-5, V-6, and



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NICOLE VAISEY in the bed                                                   . As it relates to V-6, the

video depicts HOWELLS pulling V-6                                                   is then depicted

getting in bed behind V-6 where he rubs his penis on her buttocks. HOWELLS then removes V-

    pants and panties completely exposing her vagina, and dresses her in thigh-high fish net

stockings and a garter, after which he digitally penetrates V-6                  es a vibrator on her

vagina while he masturbates. HOWELLS eventually ejaculates on V-6

Again, VAISEY is seen in the bed throughout the duration of the video, and appears to be asleep.

       Count 15:

       On or about January 24, 2014, HOWELLS sexually exploited V-3, and produced

depictions of the child engaged in sexually explicit conduct, including the following:

                             Video 12.wmv                   13:14 video file depicting V-3 in the bed

                                               residence. V-3 is dressed in a black negligee and

fishnet panties. HOWELLS is depicted getting into bed, removing V-                  , penetrating her

vagina with his penis, and ejaculating inside her vagina.

       Count 16:

       On or about April 19, 2014, HOWELLS sexually exploited V-3, and produced depictions

of the child engaged in sexually explicit conduct, including the following:

       A video file that contains a part of V-                                      video 16.wmv

This is a 57:48 video file depicting V-3 and NICOLE VAISEY in

                     . HOWELLS is depicted getting into bed, removing V-3                       , and

dressing her in a black negligee, fishnet panties, a garter, and fishnet thigh high stockings.

HOWELLS then puts a black studded collar on V-3. HOWELLS is depicted engaging in mouth

to vagina contact with V-3, fondling her vagina, and instructing V-3 to use a vibrator on her



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vagina. HOWELLS is depicted using a small hand held digital camera to filming V-3 using the

vibrator, while he masturbates. V-3 is then depicted manually stimulating HOWELLS penis

while he uses the vibrator on her vagina.      V-3                                  , after which

HOWELLS puts V-3 on her stomach and rubs his penis in and on her buttocks. VAISEY is in

the bed throughout the video, and appears to be sleeping.

       All of the visual depictions involved in Counts 1     16 were produced using materials that

had traveled in interstate and foreign commerce and were not manufactured in the state of New

York, including a Logitech HD 1080P webcam, a Canon Powershot G7 digital Camera S/N

3221205452, manufactured in Japan, and a Samsung WB100 Digital Camera S/N

A48CC9AD100FSMJ, manufactured in China. Additionally, all depictions involved in Counts 1

  16 were saved to a Seagate Barracuda 3000GB hard drive S/N W1F23A2C, which was

manufactured in China.

       Counts 17 - 21

       Counts 17 through 21 of the Indictment allege that on August 15, 2014 the defendant did

knowingly possess material that contained one or more images of child pornography that had

been transported using a means and facility of interstate and foreign commerce, and in and

affecting such commerce by any means, including by computer, and that was produced using

materials that had been shipped and transported in and affecting such commerce by any means,

including by computer.    Each count charges a separate computer hard drive on which the

defendant possessed numerous graphic image and video files of minors engaged in sexually

explicit conduct. All of the files charged in Counts 17     21 are of actual children whose images

have been transported in interstate and foreign commerce as they are widely traded on the




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Internet.   Many of the children in the files possessed by HOWELLS are known to law

enforcement.

        As to these substantive counts the Government would prove the following:

        Count 17

        On a 500GB Seagate hard drive, S/N 5QM11ZRR, manufactured in China, HOWELLS

possessed numerous image and video files depicting minors engaged in sexually explicit

conduct, including                               -0000blondsweet(1).jpg.jpg      which depicts a

prepubescent female child on her knees and handcuffed,

This image is from known child pornography series Jan_Feb. The child depicted was 7 years old

at the time she was rescued by law enforcement.

        Count 18

        A 1.0 TB Western Digital hard drive, S/N WMATV8440832, manufactured in Malaysia,

HOWELLS possessed numerous image and video files depicting minors engaged in sexually

                                            9yo Jenny Nude Sucking A Dog’ s Dick – Blowjob

Bestiality Underage Lolita R@ygold Pthc Ptsc Ddog Pedo Young Child Sex Preteen

Hussyfan Kiddy Ki_xvid.avi

appears consistent with the 9 yo of the title, engaged in mouth to genital contact with a dog.

        Count 19

        On a A 500GB Western Digital hard drive, S/N WCAPW2257346, manufactured in

Thailand, HOWELLS possessed numerous image and video files depicting minors engaged in

sexually explicit conduct, including an image file entitled, “ _hr _felisha016.j pg which depicts a

nude prepubescent female child lying on her back with her legs spread apart. An adult male is




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                                                              vagina and a fluid consistent with



       Count 20

       On a A 300GB Seagate hard drive, S/N 5NF133W0, manufactured in China, HOWELLS

possessed numerous image and video files depicting minors engaged in sexually explicit

                                            tied%20to%20suck.jpg

child approximately 4 years old, whose hands are tied with cord above her head, and who has an



       Count 21

       On a A 3000GB Seagate hard drive, S/N W1F23A2C, manufactured in China,

HOWELLS possessed numerous image and video files depicting minors engaged in sexually

explicit conduct, including                Bdsm1.mp4

sexual abuse and torture of a female infant, who, among other things, is held upside down by her

feet while hot wax is dripped onto her vagina from a lit candle.



Dated: May 8, 2014                                   Respectfully submitted,

                                                     RICHARD S. HARTUNIAN
                                                     United States Attorney
                                                     /s/ Lisa M. Fletcher
                                             By:     Lisa M. Fletcher
                                                     Assistant U. S. Attorney
                                                     Bar Roll No. 510187




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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

________________________________

UNITED STATES OF AMERICA                                   Criminal Action No.

                                                          5:14-CR-340 (GTS)

               v.

STEPHEN M. HOWELLS, II,

                  Defendant.
________________________________



                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 8, 2015 I electronically filed the foregoing document with

the Clerk of the District Court using the CM/ECF system, which sent notification of such filing

to counsel of record for the defendant.


Randi Juda Bianco, Esq.



                                           ______________/s/______________________
                                           Paula Briggs
                                           Lead Legal Assistant




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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK
______________________________________________________________________________


UNITED STATES OF AMERICA,


           V.
                                                  CASE NO. 5:14-CR-340-GTS


STEPHEN M. HOWELLS II,

                        Defendant.
______________________________________________________________________________



                         SENTENCING MEMORANDUM




DATED:      November 24, 2015              LISA A. PEEBLES
                                           Federal Public Defender


                                    By:
                                           Randi J. Bianco
                                           Assistant Federal Public Defender
                                           Bar Roll No. 507514
                                           Clinton Exchange, 3rd Floor
                                           4 Clinton Street
                                           Syracuse, New York 13202
                                           (315) 701-0080




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        Stephen Howells comes before this Court as a very remorseful man who accepts

responsibility for what he has done. Without any reservation, he understands that his criminal

conduct has scarred the victims of his offenses and brought shame on his own family. Though

his conduct is obviously reprehensible, he asks this Court to fashion a sentence that (1) accounts

for the fact that he will serve a lengthy sentence in state court for the underlying sexual abuse

and kidnapping; (2) focuses on the particular remaining federal interest involved in this case;

and (3) places his conduct into relevant context.

I.      PRELIMINARY STATEMENT

        On November 12, 2014, Stephen Howells pled guilty to one count of Conspiracy to

Sexually Exploit Children in violation of 18 U.S.C. § 2251(a) and (e); fifteen counts of Sexual

Exploitation of Children in violation of 18 U.S.C. § 2251(a); and five counts of Possession of

Child Pornography in violation of 18 U.S.C. § 2252A(a)(5)(B) and 2256(8)(A). None of the

images were ever distributed. Stephen’s sentencing is currently scheduled for December 17,

2015.

        A Presentence Report (“PSR”) was prepared by the United States Probation Department

in anticipation of his sentencing. According to the PSR, his total Offense Level after receiving

acceptance of responsibility is 43 and his Criminal History Category is I, resulting in a guideline

imprisonment range of life. Stephen’s highest offense, 18 U.S.C. § 2251(a), requires a

mandatory minimum sentence of 15 years with a maximum term of 30 years.

        Stephen has raised his objections to the factual contents contained in the PSR with

probation. The defense submits that based on the arguments set forth below, a concurrent

sentence of a total term of 30 years’ imprisonment plus lifetime post-release supervision would


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be “sufficient, but not greater than necessary,” to achieve the statutory goals of punishment.

U.S.S.G. § 3553(a).

       The Supreme Court decision in United States v. Booker, 543 U.S. 220 (2005), held the

sentencing guideline range to be only advisory. In determining a sentence, a court must not only

consider Guideline calculations, but also take into equal account all other statutory concerns

regarding the purposes of punishment listed in 18 U.S.C. § 3553(a)(2), as well as the unique

circumstances of the Defendant. See § 3553(a).

       The Sentencing Reform Act provides, in part, that:

       The Court shall impose a sentence sufficient, but not greater than necessary, to comply
       with the purposes set forth in this subsection. The Court, in determining the particular
       sentence to be imposed, shall consider-

               (1) the nature and circumstances of the offense and the history and characteristics
                   of the defendant; [and]

               (2) the need for the sentence imposed-

                    (A)          to reflect the seriousness of the offense, to promote respect for the
                                 law, and to provide just punishment for the offense;
                    (B)          to afford adequate deterrence to criminal conduct;
                    (C)          to protect the public from further crimes of the defendant; and
                    (D)          to provide the defendant with needed educational or vocational
                                 training, medical care, or other correctional treatment in the most
                                 effective manner.

18 U.S.C. § 3553(a).

       In light of Booker and the return of discretion to the Sentencing Courts, the defense

respectfully requests that this Court fashion a sentence that (1) accounts for the fact that he will

serve a lengthy sentence in state court for the underlying sexual abuse and kidnapping; (2)

focuses on the particular remaining federal interest involved in this case; and (3) places his

conduct into relevant context.

                                                   3




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    II.       THE NATURE OF THE OFFENSE, THE NEED FOR THE SENTENCE TO
              SATISFY THE REMAINING FEDERAL INTERESTS, AND STEPHEN’S
              HISTORY AND PERSONAL CHARACTERISTICS SUPPORT A COMBINED
              SENTENCE OF 30 YEARS’ IMPRISONMENT.

             Several factors support the sentence proposed of 30 years’ imprisonment for the crimes

for which Stephen is guilty, including the nature of the federal crimes he is to be punished for in

this forum as opposed to the state crimes; Stephen’s history and characteristics; and the fact that

he released the girls, knowing that his capture was almost certain.

          1. Nature of the federal offense

             The nature of the offense involves coercing young minors to engage in sexually explicit

conduct for the purpose of producing visual depictions of such conduct and thereafter possessing

such visual depictions. While the nature of the federal offense is appalling, it pales in

comparison to the underlying state charges. The state clearly has a more significant interest in

prosecuting the kidnapping and sexual abuse charges than the federal court does in the filming of

the sexual abuse, especially given the fact that the images were not distributed.

             After his divorce and the breakup of his family, Stephen’s doctor recommended he take

time off work due to anxiety and insomnia issues, conditions which may have continued to affect

Stephen thereafter. 1 This does not excuse Stephen’s actions, but does shed light on factors that

may have contributed to his behavior. In fact, Stephen maintains that at the time he committed

the crime, he did not understand that he was hurting anyone, as he believed that the girls were

“two-dimensional characters of real people.” PSR at ¶65. Once Stephen realized the truth, that




1
 See Gregory Healy, M.D., Office Visit Report, Aug. 28, 2013; Gregory Healy, M.D., Office Visit Report, Sept. 5.,
2013; Erik N. Schlosser, Ph.D., Psychosexual Evaluation of Stephen Howells II at 9 (Feb.18, 2015) submitted to the
Court under separate cover.
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he was hurting not only the victims, but also the people that he cared about in his own life, he

released the girls fully understanding that it would likely lead to his capture. Id.

    2.        The Need for the Sentence Imposed to Satisfy the Purposes of Punishment

         A sentence in federal court to the maximum of 30 years’ imprisonment is significant and

would satisfy the purposes of punishment under the Sentencing Reform Act. Such punishment

should not take into account Stephen’s state offenses, except to focus the issue on the residual

federal criminal interest and prosecution. In state court, Stephen will be sentenced to a term of

25 years for the underlying sexual abuse and kidnapping charges with 20 years’ post-

release supervision. Th es e s t at e ch a r g es of s ex u a l ab us e an d ki dn a ppi n g do not

implicate any federal interest because these acts were not done in or affecting interstate commerce

or on federal property. The only federal interest not satisfied by the state sentence is

Stephen ’s production, receipt, and possession of child pornography. 2

         As the produced images of the victims were not distributed to anyone else, the

additional harm associated with the federal interest is certainly no more serious than the State’s

interest in prosecuting Stephen for the sexual abuse and kidnapping charges. Therefore, the

remaining federal interest involved in this case would be amply satisfied by a sentence of 30

years’ imprisonment. Stacking the sentences consecutively would be greater than necessary

based on the remaining federal interest.




2
 While four of the victims were not addressed in the underlying state conviction, the District Attorney’s office of St.
Lawrence County was fully aware of these victims and had the opportunity to bring charges in regards to them.
Evidently, however, the District Attorney’s office felt that it would be in the interest of justice to offer the
underlying state plea and sentence to satisfy all charges.

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       While the Sexual Exploitation of Children and Possession of Child Pornography statutes

do target the actual use of a child to produce sexually explicit images, federal jurisdiction for 18

U.S.C. § 2251 arose from a concern with the spread of the Child Pornography industry across

the country and internationally, implicating interstate commerce. S REP. NO. 95-438, at 5 (1977)

(stating that “[c]hild pornography and child prostitution have become highly organized,

multimillion dollar industries that operate on a nationwide scale” and that “because of the vast

potential profits involved, it would appear that this sordid enterprise is growing at a rapid rate”)

(emphasis added).

       Much of the focus of the original draft of the bill was on the astounding profitability of

the industry, mainly the low cost of production coupled with the high prices these images fetch

on the black market, the lack of laws protecting boys, and the connection between the industry

and child prostitution. Id. at 6. While there was discussion about the need for federal legislation

that addresses that actual abuse of the children, much of the focus was on the absence of state

laws that prohibit the use of children in the production of child pornography. Id. at 10. Today,

every single state has some kind of statute designed to protect children from sexual abuse. Laws

in Your State, RAINN.ORG, https://apps.rainn.org/policy-app/index2.cfm (last visited Aug. 3.

2015). These state laws address child sexual abuse without regard to whether the activities are

memorialized. This further focuses the federal scope of power on the interstate transport of

children and images as a part of the production and possession of child pornography.

       18 U.S.C. § 2251 has not significantly changed since the original law passed in 1978.

Protection of Children Against Sexual Exploitation Act of 1977, PL 95-225 Feb. 6, 1978, 92 Stat

7; 18 U.S.C. § 2251. Besides modifications to sentence and terminology, e.g. PROTECT Act of

2003, PL 108–21 (S 151), sec. 103; Adam Walsh Child Protection and Safety Act of 2006, PL
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109–248, July 27, 2006, 120 Stat 587 sec. 207, the current version of 2251(a) is not substantially

different from the original law passed in 1978. Compare Protection of Children Against Sexual

Exploitation Act of 1977, PL 95-225 Feb. 6, 1978, 92 Stat 7 with 18 U.S.C. § 2251.

    3. Stephen’s History and Characteristics

    i) Childhood

        The essence of Stephen’s childhood can be summarized in two words: abuse and neglect.

Stephen’s very earliest memories were of his father verbally and physically abusing his mother. 3

Stephen was also the victim of sexual abuse at the hands of his father as a child. Id. at 6. After

leaving the family for a man when Stephen was five or six, Stephen’s father occasionally

returned to their home and forced his mother to have sex, threatening to engage in this activity

with the children if she refused him. Id. at 5. Stephen also remembers his father’s apparent

hatred of women, often referring to them in degrading terms. Id. at 10.

        Stephen’s mother also struggled with debilitating depression for which she received

disability benefits throughout Stephen’s childhood. Id. at 10. With both parents struggling with

their own behavioral and mental conditions, the domestic disturbances continued between

Stephen’s mother and father throughout his childhood and young adult life. Oftentimes the

custody and parenting affray would involve the school by requesting social services intervention

or preventing one parent or the other from communicating with the children. 4 In addition to the

abuse, every single member of the Howells family admits that the conditions in which Stephen

lived were extremely neglectful. Id. at 6. With Stephen’s father gone, the family moved


3
 Schlosser Evaluation at 5, submitted to the Court under separate cover.
4
 Note from Vera Carpenter to Colton-Pierrepont Central School, Feb. 7, 1990; Letter from Stephen Howells, Sr. to
School Nurse, p. 1 (Nov. 2, 1988); Letter from Stephen Howells, Sr. to School Principal, p. 1 (Jan. 31,
1989),submitted to the Court under separate cover

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constantly. In several of these childhood homes, Stephen lacked access to running water and

indoor plumbing and the family lived in abject poverty throughout his youth. Id at 6. As a child

and young man, Stephen remembers waking up freezing on cold winter nights to check on his

younger siblings and make sure that they were all right. One of his brothers in particular

struggled with bedwetting, and every night Stephen would wake him, help him change and put

him back to bed with dry blankets. Because of the bedwetting, Stephen and his siblings often

went to school reeking of urine.

         Stephen and his siblings were bullied at school due to their unclean appearance and

odor. 5 The urine stench caused the children to suffer socially and academically at school to such

an extent that the nurse provided the boys with showers and clean clothes. 6 Stephen was held

back twice, and had a high absenteeism rate throughout his schooling. Id. at 1. 7 When Stephen

was in his early teens, he went to live with one of his teachers who volunteered to take him into

her home, but later Stephen dropped out of school altogether. Schlosser Evaluation at 8.

         The neglect was so severe that Social Services intervened on several occasions and at one

point, the agency sent Stephen to live with his maternal aunt. Id. at 6. 8 Stephen also went to

live with his aunt at another time, despite his mother’s claims that he was mistreated there.

Schlosser Evaluation at 8. During these stays, Stephen’s cousin sexually abused him and later

shot and killed himself while Stephen was living in the home. Id. at 6.

         Despite the tumultuous and violent upbringing that formed the foundation of Stephen’s

life, he never received any psychological treatment to deal with the traumas he endured as a child



5
  Letter from Stephen Howells, Sr. to School Nurse, p. 1 (Nov. 2, 1988), submitted to the Court under separate cover.
6
  Kathryn Hayes, Health Report, 1988, submitted under separate cover.
7
  Specific Attendance Report, Norman Whyte High School (1990) submitted to the Court under separate cover.
8
  Note from Vera Carpenter to Colton-Pierrepont Central School, Apr. 17, 1990 submitted under separate cover.
                                                         8




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and young adult. There is evidence, however, that Stephen is amenable to treatment, which in

addition to the fact he would be quite elderly upon release, strongly supports a 30-year sentence

as “sufficient, but not greater than necessary,” to achieve the statutory goals of punishment.

   ii) The Results of a Psychosexual Evaluation

       The Court has been provided with a Psychosexual Evaluation of Stephen that was

conducted by Dr. Erik N. Schlosser over the course of three sessions in November and December

of 2014. Dr. Schlosser’s evaluation was both comprehensive and thorough, as he reviewed all of

the materials in this case, conducted a lengthy interview with Stephen, performed psychological

testing, and interviewed Stephen’s parents and siblings.

       The most compelling aspect of Dr. Schlosser’s evaluation is his conclusion that Stephen

possesses several positive qualities that indicate “a relatively smooth treatment process and a

reasonably good prognosis.” Schlosser Evaluation at 15. In addition to the remorse Stephen

expressed during the evaluation, he also expressed a desire for treatment and an understanding of

the pain and harm he had caused. Id. at 14. Stephen attempted to stop viewing child porn in the

past, but could never do so without the aid of treatment nor did he receive therapy to deal with

the violent and neglectful childhood he survived.

       Part of the reason he did not seek psychiatric assistance for the trauma of his past was

because of a lack of memory of his childhood. Id. at 18. Dr. Schlosser examined this

phenomenon and found that “[i]t is fairly common for children raised in chaotic homes with

violence and/or neglect to experience memory problems due to the interference of anxiety or fear

in the brain’s process.” Id. These chronic memory problems were first recognized in Stephen in

2003. Id.


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           In addition to his highly treatable characteristics, Dr. Schlosser also found that Stephen

was “very disclosing” and “open.” Id. at 16. One test designed to assess self-reporting

distortions found that Stephen’s candor was highly “consistent with individuals honestly

reporting their difficulties” and that there was “no evidence of exaggeration or feigning.” Id.

           Dr. Schlosser’s evaluation concludes with his opinion, based on test results, that Stephen

is “motivated to obtain treatment for his problems, is highly disclosing of his problems, and

displays characteristics associated with those who engage in treatment in a meaningful manner.”

Id. at 19.

      iii) Educational History
                                                                                           9
           In school, Stephen was diagnosed with a cognitive learning disability.              Despite this

diagnosis and a turbulent home life, Steven earned his GED and later took advantage of the GI

Benefits he was entitled to because of his military service. Stephen attended college, graduated

with a nursing degree, and passed state exams to become a Registered Nurse.

      iv) Employment History

           As a registered nurse, Stephen helped countless people in times of great need and

vulnerability. He took his job very seriously and felt that his position allowed him to give back

to his community by using the skills he gained in the military and nursing school to heal others.

In the United States Air Force, Stephen served as a medic and has since always maintained a

strong work history to provide for himself and his family.




9
    Cumulative Health Record, Colton-Pierrepont Central School, Oct. 1989 submitted under separate cover
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   v) Military History

       In addition to recognizing employment history at the sentencing stage, the Second Circuit

has also considered military service as supportive of a downward departure. See United States v.

Canova, 412 F.3d 331 (2d Cir. 2005). In a similar case, the Third Circuit departed downward

where the defendant, convicted for inducing a minor to perform illegal sex acts and receiving

child pornography, had served in the Navy and had no criminal record. United States v.

Velasquez, 329 Fed. Appx. 365 (3d Cir. 2009). As mentioned, Stephen served this country in the

United States Air Force for four years as a medic and has no criminal record whatsoever.

   vi) Family Life

       Stephen has three children, ages 13, 9, and 6. Stephen cares for his children very much

and never abused them. He was very involved in all of his children’s lives and was always

available to help with homework and educate and enrich their lives through hiking, fishing, and

horseback riding.

       One of Stephen’s greatest regrets is the pain he has caused his family, especially his

children. He hopes that someday, even if he is quite elderly at the time, he might be free to start

making amends with them for the mistakes he has made.

   vii) Stephen’s Age

       Stephen is presently 40 years old and, should the Court sentence him to 30 years, will be

elderly when released. The Sentencing Commission has found that advanced age should be

considered at sentencing and that there is an inverse correlation between recidivism rates and

age. United States Sentencing Commission, Measuring Recidivism: the Criminal History

Computation of Federal Sentencing Guidelines, (May 2004). The Sentencing Commission

found that less than 10% of defendants over 50 years of age committed another crime. Id. at 28.
                                               11




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Controlling for criminal history category, only 6.2% of the defendants over age 50 that were in a

Criminal History Category of I committed another offense. Id. at 28.

       While there is some evidence that sex offenders pose a higher risk of recidivism than

other criminal defendants, see, e.g., United States v. Hayes, 445 F.3d 536, 537 (2d Cir. 2006)

(citing H.R.Rep. No. 107-527, at 2 (2002), other studies focusing on sexual offenders found

results similar to those found by the Sentencing Commission: recidivism decreases with age for

all offender types. See, e.g., R. Karl Hanson, Age and Sexual Recidivism: A Comparison of

Rapists and Child Molesters (2001).

       Even if the recidivism rates of the entire population of sex offenders are generally higher

than the population of other criminal defendants, a point Stephen does not concede, studies have

demonstrated that sex offenders receiving treatment are less likely to recidivate than sex

offenders who remain untreated. See, e.g., Karen Kersting, New Hope for Sex Offender

Treatment, MONITOR ON PSYCHOLOGY (Aug. 2003); John Q. LaFond & Bruce J. Winnick, Sex

Offender Reentry Courts: A Proposal for Managing the Risk of Returning Sex Offenders to the

Community, 34 Seton Hall L. Rev. 1173, 1180-84 (2004).

       Here, Stephen will likely participate in sex offender treatment while incarcerated and

when released to supervision. As demonstrated by psychological evaluation, Stephen is very

amenable to this treatment and will likely gain much from participating. Thus, his age, treatment

opportunities, and post-release supervision indicate that the likelihood of his recidivism will

significantly diminish and that 30 years would be a sentence sufficient, but not greater than

necessary, to satisfy the remaining federal interests involved in this case.




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       viii)        Stephen Released the Victims Despite Knowing the Likelihood that He
                    Would Be Apprehended and Thereafter Cooperated Fully with Authorities.

           In imposing a sufficient sentence, we ask this court to consider Stephen’s actions in

releasing the victims in this case and his subsequent cooperation with law enforcement. Stephen

immediately cooperated with law enforcement officers when he was arrested. He confessed his

guilt, never minimized his conduct, and continuously accepting responsibility for his offense. In

addition to pleading guilty to every offense charged in the indictment, he acknowledged his

wrongdoing to the Probation Office and timely notified the government of his intent to enter a

plea of guilty. As he states in his letter to the Probation Office, he has extreme remorse and shame

for what he has done and is glad he was apprehended.

           More significant than his acceptance of responsibility is the fact that Stephen released his

last two victims knowing that he would likely be identified and apprehended after doing so. At

the time of the offense, Stephen made no attempt to hide his identity. The victims knew what he

looked like, what type of car he drove, and where he lived. When Stephen made the decision to

release the victims approximately 24 hours after their abduction, he knew he would be arrested

and imprisoned.

III.       CONCLUSION

           Based on the foregoing, counsel asks this Court to impose a combined sentence of 30

years’ imprisonment plus post-release supervision as such a sentence is sufficient, but not greater

than necessary, to satisfy the remaining federal interests involved in this case. Stephen has

continued family support despite the nature of his crime. 10 We further ask that that this Court




10
     See support letters from family submitted under separate cover.
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recommend that Stephen be placed in a facility close to his family in Iowa and placed within a

facility that has a sex offender treatment program.



DATED:         November 24, 2015                      LISA A. PEEBLES
                                                      Federal Public Defender

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TO:    Lisa Fletcher, Esq., AUSA
       Janna Kulakowski, USPO
       Stephen Howells




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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK


************************************                  Case No.   5:14-CR-340 (GTS)
UNITED STATES OF AMERICA

                                                      GOVERNMENT S SENTENCING
              v.                                      MEMORANDUM

STEPHEN M. HOWELLS, II,

                  Defendant.
***********************************

       The United States of America, by and through its counsel of record, the United States

Attorney for the Northern District of New York, hereby files its sentencing memorandum

requesting, for the reasons set forth below, that the Court impose a Guidelines sentence of 580

years imprisonment and lifetime supervised release.

                                      INTRODUCTION

       On May 8, 2015, defendant Stephen M. Howells, II entered a plea of guilty to all counts

of a twenty-one-count Superseding Indictment charging him with one count of conspiracy to

sexually exploit minors in violation of Title 18, United States Code, Sections 2251(a) and (e)

(Count 1); fifteen counts of sexually exploiting six different minors, in violation of Title 18,

United States Code, Section 2251(a) (Counts 2 - 16); and five counts of possessing material that

contains one or more images of child pornography, in violation of Title 18, United States Code,

Section 2252A(a)(5)(B) (Counts 17 - 21).

       Howells is scheduled to be sentenced on December 17, 2015.

             APPLICABLE STATUTORY AND GUIDELINES PROVISIONS

1.     Statutory Maximum and Minimum Sentences

       The defendant’s convictions on Counts 1 - 16 of the Superseding Indictment subject him to




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a mandatory minimum of 15 years, and a maximum sentence of 30 years imprisonment, per count.

18 U.S.C. § 2251(e); PSR ¶ 312. His convictions on Counts 17 - 21 carry a maximum term of 20

years imprisonment per count. 18 U.S.C. § 2252A(b)(2); PSR ¶ 312.

       In addition, each count of conviction carries with it a mandatory term of supervised release

of at least 5 years, and up to life, 18 U.S.C. § 3583(k), PSR ¶ 316, and a fine of up to $250,000.

18 U.S.C. § 3571; PSR ¶¶ 321. 1

2.     Guidelines Provisions

       a.      Offense Level

       The Government agrees with the Guidelines computations of the Probation Officer, and

that the defendant’s Total Offense Level is 43. PSR ¶¶ 66 – 278.

       b.      Acceptance of Responsibility

       The Government moves for an additional one-level downward adjustment pursuant to

U.S.S.G. § 3E1.1(b) to credit the defendant for having “timely notified authorities of his intention

to enter a plea of guilty, thereby permitting the U.S. Attorney’s Office to avoid preparing for trial

and permitting the government and the court to allocate their resources efficiently.” PSR ¶ 274.

       c.      Criminal History Category

       According to the presentence report, the defendant s criminal history category is I. PSR ¶

281. The Government agrees with the Probation Officer s determination of the defendant s

criminal history category. While this designation “does not adequately reflect the seriousness of

the defendant’s past conduct or the likelihood of recidivism,” because the Guidelines call for a life

sentence in any event, the Government is not seeking an upward departure from this criminal


       1
              The Government agrees with the assessment of the Probation Officer that the
defendant does not have the ability to pay a fine. PSR ¶¶ 307 - 311.

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history category. See U.S.S.G. § 4A1.3.

        d.       Guidelines Range and Sentence

        As described above, the defendant s total offense level is 43 and his criminal history

category is I. As a result, the Sentencing Guidelines advise that the defendant receive a sentence

of life. PSR ¶ 313. However, since no count of conviction carries a potential life sentence,

U.S.S.G. § 5G1.2(d) provides that the sentences imposed on each count of conviction shall run

consecutively “to the extent necessary to produce a combined sentence equal to the total

punishment.” Here, the total punishment available to the defendant is 580 years, representing

consecutive maximum sentences on each count of conviction. PSR ¶¶ 313 - 314; see United

States v. Ketcham, 507 F. App’x 42, 44 (2d Cir. 2013); United States v. Petrie, 542 F. App’x 746,

747-48 (2d Cir. 2013). For all of the reasons set forth below, the Government maintains that this

Guidelines sentence is fair, just, and warranted.

        The Guidelines term of supervised release each count of conviction is no less than 5 years

and up to life, PSR ¶ 318. The Guidelines recommend lifetime supervision. Id.; U.S.S.G.

§ 5D1.2(b)(2).

3.      Forfeiture

        As set forth in the Forfeiture Allegation of the Superseding Indictment, the defendant shall

forfeit to the United States all of his right, title and interest of any nature in any and all assets that

are subject to forfeiture, pursuant to 18 U.S.C. § 2253. That forfeiture includes the following:

        1)       A 2004 red Pontiac, Sunfire, NY registration GCR6443;
        2)       A 2001 white Honda, Civic, NY registration BVZ9284;
        3)       An Antec homemade desktop computer with no serial number, containing five
hard drives:
                 a)     one 500GB Seagate hard drive, S/N 5QM11ZRR;
                 b)     one 1.0 TB Western Digital hard drive, S/N WMATV8440832;
                 c)     one 500GB Western Digital hard drive, S/N WCAPW2257346;

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               d)    one 300GB Seagate hard drive, S/N 5NF133W0; and
               e)    one 3000GB Seagate hard drive, S/N W1F23A2C;
       4)      A Canon G7 Digital camera S/N #3221205452;
       5)      An iPhone model #A1349, EMC#2422, FCC ID: BCG-E2422B; and
       6)      An iPhone model #A1387, IC# 579C-E2430A, FCC ID: BCG-E2430A.

4.     Restitution

       In addition to the six minor victims involved in Counts 1 – 16, the minors depicted in the

images and videos involved in the defendant’s child pornography possession crimes, Counts 17 –

21, are victims of his offenses. Restitution to the victims is mandatory, and the Court may not

decline to award restitution because of the defendant's economic circumstances or the fact that the

victims have, or are entitled to, receive compensation for their injuries from the proceeds of

insurance or any other source. 18 U.S.C. §§ 2259(b)(3) and (c).

       While there have been no restitution requests from the minors charged in Counts 1 – 16, as

it applies to the victims of the defendant’s possession offenses, he is responsible for restitution in

“an amount that comports with the defendant’s relative role in the causal process that underlies the

victims’ general losses,” which shall be calculated by the Court to be a “reasonable and

circumscribed award imposed in recognition of the indisputable role of the [defendant] in the

causal process underlying the victim[s’] losses and suited to the relative size of that causal role.”

Paroline v. United States, __U.S.__, 134. S. Ct. 1710, 1727 (2014). Five of these victims have

filed requests for restitution as Howells’ crimes involve their images. PSR ¶ 63. The parties are in

the process of determining whether the victims will continue to pursue restitution given the

assessment that the defendant has no ability to pay, 2 or whether there is an amount of restitution

that can be agreed upon to satisfy the restitution claims. Should negotiations fail, the Government
       2
                While ability to pay is not a consideration in whether restitution shall be ordered, it
is often a consideration to the victims, as they assess whether an uncollectable judgment is in their
best interest.

                                                   4




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will brief the issue of restitution and what amounts should be awarded to the victims as a result of

Howells’ crimes.

                GOVERNMENT S SENTENCING RECOMMENDATION 3

       For all of the reasons set forth herein, the Government maintains that a Guidelines sentence

of 580 years imprisonment and lifetime supervised release is just, warranted, and not greater than

necessary to comply with the purposes of sentencing. 18 U.S.C. § 3553(a). The record reveals

no mitigating factor that would suggest that anything but a Guidelines sentence is appropriate in

this case. Moreover, such a sentence is reasonably designed to achieve the total punishment, and

takes into account the nature and seriousness of the defendant’s crimes, the harm done to the child

victims - not only the six victims whose exploitation came directly at the hands of the defendant,

but also the hundreds of child victims whose images he collected from the Internet - and each of

the relevant considerations required under 18 U.S.C. § 3553(a).

       18 U.S.C. § 3553(a)(1)

       The first factor to be considered under § 3553(a) is the “nature and circumstances of the

offense and the history and characteristics of the defendant.” 18 U.S.C. § 3553(a)(1).

       The nature and circumstances of the defendant’s offenses are in many ways too horrible



       3
                The Government reserves the right to respond to defense arguments. Similarly,
if the Court is considering a sua sponte departure from the applicable sentencing guidelines
range on a ground not previously identified by the parties or in the Presentence Investigation
Report, the parties are entitled to notice and an opportunity to respond. See Fed R. Crim. P.
32(i)(1)(c), 32 (h).

              Further, the United States respectfully requests that the Court provide the parties
with any ex parte communications received by the Court in connection with sentencing, with the
exception of the confidential sentencing recommendations submitted by the United States
Probation Office.


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to recount.   The extensive and perverse abuse of four little girls whose safety was entrusted to

the defendant by their parents, followed by the vicious kidnapping and sexual abuse of two

vulnerable little girls, taken from their family’s roadside vegetable stand, are crimes that demand

a stiff and sure penalty.

        Howells began his offenses by specifically putting himself in a position of trust with the

mothers of V-3, V-4, V-5, and V-6, and used that trust to gain access the girls. See PSR ¶¶ 5, 6,

42.   He not only abused each of these children, both alone and together with his co-defendant

and co-conspirator Nicole Vaisey, but exploiting his status as a registered nurse, he also obtained

and administered an alarming number of medications and controlled substances to these very

young children, creating further peril to their well-being.   Howells admitted to law enforcement

that he used both Benadryl and Ambien on the children, PSR ¶ 41, and he knew how dangerous

these substances were.      Forensic review of his Internet search histories found queries for such

things as signs of overdose, withdrawal symptoms, and, from a laptop used by Vaisey, a question

that specifically asked: “Will I die if I take Ambien and Benadryl together?” PSR ¶¶ 46, 48.

        While Ambien was the drug he used with all of his victims, Howells also used other

dangerous drugs, including Versed, morphine, and oxycodone.          V-3 alone was found to have

ten different substances in her system.   PSR ¶ 6a.

        When drugging and sexually exploiting known children became insufficient to quell their

appetite, Howells and Vaisey hatched a plan, several months in the making, to abduct young girls

for use as “slaves.” PSR ¶¶ 6d – 6g; 37.        While neither conspirator has explained why they

targeted the Amish, it seems quite clear that in doing so they were gaining an advantage:

vulnerable children in a community that does not possess a car to follow the kidnappers, or a

phone to summon for help.        It is overwhelming to imagine the sheer terror inflicted on these

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young girls, taken from their family and their community, held captive for more than 24 hours,

drugged, and subjected to degrading and unspeakable brutalities.    PSR ¶¶ 30 – 39.

       In addition to the acts of drugging and sexually abusing of each of his victims, Howells’

depravity is further revealed by his commission of the crimes for which he is being sentenced –

exploiting the children for the purpose of producing images of the abuse.      Here, too, Howells’

actions were out of the ordinary.    He and Vaisey did more than “just” produce depictions of

their sexual abuse of the children, instead their narcissistic filming often included recording the

abuse by using multiple video devices and still photography - simultaneously capturing the abuse

from multiple angles.   See, e.g., PSR ¶ 7.

       In addition to the horrors inflicted upon all six of the named victims, Howells spent years

victimizing hundreds of other young children by collecting images of their abuse from the

Internet, again bringing to the forefront the very close association between on-line child

pornography offenses and hands-on abuse.       Forensic review shows that Howells collected child

pornography from the Internet beginning at least as far back as 1999, and maintained a collection

of tens of thousands of image and video files depicting the sexual abuse of children, PSR ¶ 45,

including depictions of bondage and the sadistic abuse and torture of the very young. See, e.g.

PSR ¶ 28 (describing image depicting approximately 4 year old child, her hands bound by a cord

above her head, and adult’s penis pressed against her face); PSR ¶ 29 (describing a video file

depicting the sexual abuse and torture of an infant).    Howells also possessed 180,753 images

and 912 video files of sexually explicit conduct with children whose ages are not readily

apparent, and over one million images of child and teen erotica.   PSR ¶ 45.

       Within the thousands of files in Howells’ collection, the National Center for Missing and

Exploited Children has identified 389 individual children whose identities are known to law

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enforcement as actual child victims identified in investigations worldwide.         PSR ¶ 49.   All of

these children, as well as those whose images he collected but who have yet to be rescued and

identified, are victims of Stephen Howells’ offenses.

       Howells describes his offenses as an obsession with a “fantasy situation” where he

considered the “girl(s)” to be “two dimensional characters,” and did not think he was hurting a

real person, since he saw them as “objects.” PSR ¶ 65. 4        This is really all one needs to know

in order to truly assess “the history and characteristics of the defendant.”     18 U.S.C. § 3553(a).

       While in many cases there may be facts and circumstances that provide a mitigating

counter-point to a defendant’s criminal acts, this is not such a case.         There is simply nothing

about Howells that lessens the evil of his actions.    If “[t]he true test of a man’s character is what

he does when no one is watching,” 5 Stephen Howells is the basest among us.            He poses a real

and substantial threat to children, and to young girls in particular.            He is a violent and

dangerous sex offender for whom the Guidelines range and recommended sentence of 580 years

is not only appropriate but necessary, ensuring, as V-3 told her mother, that he will “never hurt

another child again.” PSR ¶ 61.

       18 U.S.C. § 3553(a)(2)

       The next set of factors to be considered in imposing sentence include:

       the need for the sentence imposed--(A) to reflect the seriousness of the offense, to
       promote respect for the law, and to provide just punishment for the offense;(B) to
       afford adequate deterrence to criminal conduct;(C) to protect the public from
       further crimes of the defendant; and (D) to provide the defendant with needed
       educational or vocational training, medical care, or other correctional treatment in
       the most effective manner.
       4
                Notably, even in his role as a registered nurse, Howells looked at the children he
cared for in a sexual way. See, e.g. PSR ¶ 55.
       5
               Quote by John Wooden, author and retired basketball player and coach.

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18 U.S.C. § 3553(a)(2).

       Certainly the recommended sentence achieves all of the relevant objectives. 6        Few

offenses are more serious, and the recommended sentence acknowledges that, while at the same

time affording adequate deterrence to others, for to impose a lesser sentence in a case with so

many aggravating factors provides little deterrence to those whose serious crimes do not include

drugging, kidnapping, and the exploitation of multiple victims.

       Given the nature and extent of the defendant’s crimes, the number of victims, the act of

kidnapping to obtain additional victims, the dangerous drugging of children to facilitate their

sexual exploitation, and the years of on-line activity leading to the accumulation of an enormous

collection of images depicting the sadistic abuse of children, a 580 year sentence will justly

ensure public safety by forever removing Howells’access to children.

       18 U.S.C. 3553(a)(3), (4), (5), and (6)

       The final set of factors to be considered in imposing sentence, pertinent to this matter,

are:

       (3) the kinds of sentences available;

       (4) the kinds of sentence and the sentencing range established for--
       (A) the applicable category of offense committed by the applicable category of
       defendant as set forth in the guidelines--
       (i) issued by the Sentencing Commission pursuant to section 994(a)(1) of title 28,
       United States Code, subject to any amendments made to such guidelines by act of
       Congress (regardless of whether such amendments have yet to be incorporated by
       the Sentencing Commission into amendments issued under section 994(p) of title
       28);
                               *      *       *
       (5) any pertinent policy statement--

       6
               The defendant does not appear to be in need of educational or vocational training,
or medical care.


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       (A) issued by the Sentencing Commission pursuant to section 994(a)(2) of title
       28, United States Code, subject to any amendments made to such policy statement
       by act of Congress (regardless of whether such amendments have yet to be
       incorporated by the Sentencing Commission into amendments issued under
       section 994(p) of title 28); and

                             *      *      *
       (6) the need to avoid unwarranted sentence disparities among defendants with
       similar records who have been found guilty of similar conduct.

18 U.S.C. 3553(a)(3)-(6).

       First, the only kind of sentence available is incarceration, and the sentencing range as

established by the Guidelines is 580 years.       PSR ¶ 313.    It is also noteworthy that the

Guidelines offense levels go only as high as 43, while Howells scores 55 – twelve levels higher.

PSR ¶¶ 66 - 278.

       Second, the policy statement issued by the Sentencing Commission at U.S.S.G.

§ 5K2.0(b) advises against a departure from the Guidelines in child crimes and sexual offenses

except in explicitly numerated circumstances, none of which, the Government submits, are

present here.

       Finally, adherence to the Guideline sentence is the best way to ensure against sentencing

disparity “among defendants with similar records who have been found guilty of similar

conduct.” 18 U.S.C. § 3553(a)(6).

                                        CONCLUSION

       For all of the reasons set forth above, the Government maintains that consecutive

sentences totaling the maximum available sentence of 580 years, designed to ensure that the

defendant spends the rest of his life in prison, is the outcome warranted by his crimes.   Such a

sentence is not greater than necessary, and is sufficient to comply with and accomplish the many


                                                10




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goals of sentencing.   18 U.S.C. § 3553(a).


Respectfully submitted this 24th day of November, 2015,

RICHARD S. HARTUNIAN
United States Attorney


By: /s/ Lisa M. Fletcher
Lisa M. Fletcher
Assistant United States Attorney
Bar Roll No. 510187




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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

*******************************
UNITED STATES OF AMERICA
                                                        Case No.: 5:14-CR-340 (GTS)
                 v.

STEPHEN M. HOWELLS, II,

                  Defendant.
*******************************


                            CERTIFICATE OF SERVICE



       I hereby certify that on November 24, 2015 I filed the Government’s Sentencing

Memorandum with the Clerk of the District Court and sent copies of said documents via ECF to

the following:


       Randi Juda Bianco, Esq.

                                                  /s/
                                                  Deanna Lieberman




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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF NEW YORK

************************************
UNITED STATES OF AMERICA
                                                    Case No. 5:14-CR-340 (GTS)
v.
                                                    GOVERNMENT S RESPONSE TO
STEPHEN M. HOWELLS, II,                             DEFENDANT S SENTENCING
                                                    MEMORANDUM
                        Defendant.
***********************************

       On November 24, 2015, pursuant to the Uniform Presentence Order issued by the Court,

the United States filed a sentencing memorandum in the above-captioned matter.               The

Sentencing Memorandum of the United States addressed the Presentence Investigation Report

(PSR) only as we had not yet received the defendant s sentencing arguments.     The Government

reserved its right to respond in writing to any sentencing objections and arguments raised by the

defendant after the filing of our Memorandum.    That same day, the defendant filed a sentencing

memorandum.         This response is filed in answer to arguments raised in the

Sentencing Memorandum.

 GOVERNMENT S RESPONSE TO DEFENDANT S SENTENCING MEMORANDUM

1.     18 U.S.C. § 2251(a) Is Not Limited Or Intended To Be Limited To Those Who
       Transport The Pornography They Produce

       While the defendant does not, and cannot, argue that he was improperly charged with

violating § 2251(a), he suggests that his actions are not those contemplated by Congress in

enacting the stat                                                    -7.   The defendant argues

that state laws addressing the hands-




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the interstate transport of children and images as a part of the production and possession of child

                 id. at 6.   He could not be more off the mark.

        While it has become commonplace to refer to §

actuality it is captioned (as it is                                                      , for it is the

use of the child for the purpose of producing visual depictions which is the gravamen of the

offense -- whether or not depictions are ever even produced.        See United States v. Esch, 832

F.2d 531 (10th Cir. 1987) (each use of a child to create a depiction is the correct unit of

prosecution as
                                                                        1
                                                                            ; see also United States v.

Fee                           (11th Cir. 2012).

        Moreover, it is well established that the entirely intrastate use of a child for the purpose

                                                            , with no intent to further profit from or

distribute images, is well within the meaning of the statute. United States v. Holston, 343 F.3d

83, 90 (2d Cir. 2003)        As we are satisfied that                                  s powers under

the Commerce Clause, the fact that Holston neither shipped the materials interstate nor intended

to benefit commercially from his conduct is of no moment.         see also United States v. Ramos,

1
        Quoting the Senate Report as follows:

        Current Federal laws dealing with pornography focus almost exclusively on the
        sale, distribution and importation of obscene materials, and, do not directly address
        the abuse of children inherent in their participation in the production of such
        materials ... the Committee intends to fill the existing gap in Federal law by
        declaring that the use of children in the production of such materials is a form of
        child abuse. S.Rep. No. 95 438, reprinted in 1978 U.S.Code Cong. & Admin.
        News at 53.

Esch, 832 F.2d at 542, n.10.

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685 F.3d 120 (2d Cir.), cert. denied 133 S.Ct. 567 (2012)

2.     The Defendant’ s Childhood Circumstances Are Not A Reason To Depart From
       The Guidelines.

       Howells goes into great detail about his unfortunate upbringing as an argument in favor

of a more lenient sentence than that recommended by the Guidelines.            He goes so far as to

provide school documentation from 1988, 1989, and 1990.

       While the Guidelines are now advisory, their policy statements are a factor to be

considered by the Court in fashioning a sentence.           18 U.S.C. § 3553(a)(5)(A).      U.S.S.G.

§ 5H1.3              Mental and emotional conditions may be relevant in determining whether a

departure is warranted, if such conditions, individually or in combination with other offender

characteristics, are present to an unusual degree and distinguish the case from the typical cases

covered by the guidelines.

common parlance; yet, in this context, the abuse must be judged against that suffered by the



United States v. Brady, 417 F.3d 326, 333 (2d Cir. 2005).

                                                                                        at constitutes

an atypical case.   Id. at 334.

       The Government maintains that                  history does not stand out as extraordinary in

the universe of other defendants this Court, the courts in this District, and the other courts in this

country, sentence on a daily basis.     United States v. Vela, 927 F.2d 197, 199 (5th Cir. 1991)

( Childhood abuse and neglect are often present in the lives of criminals. They always affect




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United States v. Daly, 883 F.2d 313, 319 (4th Cir. 1989)(internal citation omitted).

       Many child pornography offenders report having been abused themselves as children.

While the Government does not contest that              upbringing may have been deplorable, so

too is the case with many other defendants similarly situated.   To merit a departure, therefore, a

defendant need show more than extreme and atypical abuse.           There must also be a causal

connection between the abuse and the commission of the offense.        While Howells details facts

about his unfortunate upbringing, he does not connect those circumstances to his offenses.

Even his psychosexual evaluation, noting that Howells has no memories of abuse, does not

                                                                        ldhood experiences, or his

childhood experiences with his crimes.       Without such a causal connection, a departure is

unwarranted. See Brady, 417 F.3d at 334

a causal nexus restricts the circumstances in which a departure on the grounds of abuse is

permitted only to cases where the abuse brings about a mental condition that leads to or causes

                          United States v. Reinoso, 350 F.3d 51, 58 (2d Cir. 2003)(Circuit law

 explicitly limits the situations in which a departure based on abuse is warranted to those in

which the abuse creates to a mental condition that in turn leads to or causes the criminal




III.   CONCLUSION

       The Government maintains that the defendant has raised no meaningful fact or reasons to




               falls far short of

                                                 4




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Memorandum, p. 12.     Accordingly, for all of the reasons outlined above, and as set forth in our

original sentencing memorandum, the Government maintains that a Guidelines sentence is fair,

just, and warranted.


Respectfully submitted this 3rd day of December, 2015

RICHARD S. HARTUNIAN
United States Attorney

/s/ Lisa M. Fletcher
Lisa M. Fletcher
Assistant United States Attorney
Bar Roll No. 510187




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                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


****************************************
UNITED STATES OF AMERICA,                                 Criminal Action No.
                                                           5:14-CR-340 (GTS)
              v.

STEPHEN M. HOWELLS, II,

            Defendant.
****************************************


                                CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2015

RESPONSE TO DEFENDAN             SENTENCING MEMORANDUM with the Clerk of the

District Court using the CM/ECF system.


       Randi Juda Bianco, AFPD


                                                   /s/
                                                   Paula Briggs




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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
--------------------------------------------x
UNITED STATES OF AMERICA

vs.                                  5:14-cr-340
STEPHEN M. HOWELLS, II,

                            Defendant.
--------------------------------------------x

                    Sentencing - December 17, 2015
        James Hanley Federal Building, Syracuse, New York

                      HONORABLE GLENN T. SUDDABY
               United States District Judge, Presiding



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       Stephen M. Howells, II - Sentencing - 12/17/2015                    2


1              THE CLERK:     Case 5:14-cr-340; United States of
2    America versus Steven M. Howells, II.         Counsel, please note

3    your appearance for the record.

4              MS. FLETCHER:      Lisa Fletcher for the United States.
5    Good afternoon, Judge.

6              THE COURT:     Good afternoon.

7              MS. BIANCO:     Good afternoon, Your Honor.         Randi
8    Bianco for Mr. Stephen Howells, who is seated at my right.

9              THE COURT:     Good afternoon.      We're here for
10   sentencing.   Both parties prepared to proceed?

11             MS. FLETCHER:      Yes, Your Honor.

12             MS. BIANCO:     Yes, Your Honor.
13             THE COURT:     Counsel, have you received the

14   Presentence Report dated September 11, 2015, and the addendum

15   dated December 15th of 2015?        The government?
16             MS. FLETCHER:      Yes.

17             THE COURT:     Ms. Bianco?
18             MS. BIANCO:     Yes, Your Honor.

19             THE COURT:     Ms. Bianco, did you have an opportunity

20   to review those reports with your client?
21             MS. BIANCO:     I was just reviewing the one from the

22   15th with him now.     I believe he understands.        There is only

23   three minor changes and he understands the charges.
24             THE COURT:     Is that right?      Have you had sufficient

25   time, Mr. Howells, to review that latest addendum with your




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  3


1    attorney and are you comfortable in proceeding?
2              THE DEFENDANT:      I am, sir.

3              THE COURT:     Okay, very well.

4              There were a number of character letters which were
5    attached to the sentencing memorandum which have been filed

6    on the docket, so I'm not going to recite those.

7              We'll move right on to any objections to the facts
8    as stated in the Presentence Report?         For the government?

9              MS. FLETCHER:      No objection.
10             THE COURT:     Ms. Bianco?

11             MS. BIANCO:     No objection.

12             THE COURT:     Any objections to the offense level
13   calculations in the Presentence Report?         For the government?

14             MS. FLETCHER:      No objection.

15             THE COURT:     Ms. Bianco?
16             MS. BIANCO:     No objection.

17             THE COURT:     And do you agree with the criminal
18   history computation as set forth in the Presentence Report?

19   The government?

20             MS. FLETCHER:      Yes.
21             MS. BIANCO:     Yes, Your Honor.

22             THE COURT:     Very well.     Ms. Fletcher, go ahead.

23             MS. FLETCHER:      Thank you, Your Honor.       Your Honor,
24   the decision to be made by the Court this afternoon is

25   whether to sentence Stephen Howells to life in prison or not.




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  4


1    There is no middle ground.      There is either a sentence which
2    may allow Howells to one day reenter society or one that

3    ensures he never will.

4              The level of depravity inherent in the defendant's
5    use of children to satisfy his abhorrent sexual fantasies

6    answers that question decisively.        Stephen Howells has earned

7    every day of the 580 year sentence he faces.
8              While in 2012 he alone filmed his drugging and

9    abuse of V4, the eight-year-old daughter of a friend who
10   entrusted her to his care, it was after he met Nicole Vaisey

11   that their toxic pairing exploded this behavior into more and

12   more shocking crimes, involving multiple victims, sometimes
13   abusing two or three children at once, including V5 and V6,

14   the five and ten-year-old sisters who were also entrusted to

15   Howells' care by their mother.
16             The grooming and pervasive abuse of V3, the

17   seven-year-old child Vaisey brought into the relationship,
18   and the kidnapping and abuse of the Amish sisters, six and

19   eleven years old.    Within all of these horrific crimes it was

20   V3, the child entrusted to Vaisey, who suffered the most
21   abuse.   Ten different drugs were found in her system,

22   including dangerous controlled substances, nine separate

23   dates of abuse.    The video history of the exploitation of V3
24   shows the chilling progression of over an eight-month time

25   span from a child resistant to the abuse, to one drugged and




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  5


1    groomed into compliance, to one who finally succumbed to her
2    role as participant.

3                If the case were only these four victims, if it

4    were only this vile and extensive abuse, Stephen Howells
5    would merit a life sentence, for the horrors these children

6    were subjected to, for the breach of trust and for the

7    emotional trauma they and their families will deal with for a
8    lifetime.    Stephen Howells robbed these children of their

9    innocence, of their right as children to feel safe and secure
10   around the adults in their lives.

11               As V3 wrote to the Court, for these acts the

12   defendant should go to jail for life.         Isolate them for life,
13   she wrote.    If the abuse of V3, V4, V5 and V6 were the extent

14   of this defendant's horrors, it would still be too horrible

15   to quantify, but it is not.       The diabolical acts were not
16   enough to quell the defendant's pedophilic appetite.

17               Howells and Vaisey next took their twisted
18   relationship to a shocking new level; they plotted and

19   planned to kidnap children for use as sex slaves.           To

20   conceive the idea is shocking enough.         To conspire to commit
21   it is unthinkable.     But to carry it out is beyond terrifying.

22   Imagine the 25 hours of sheer terror endured by the young

23   Amish sisters, only six and eleven years old.
24               First, the realization that the kindly looking

25   customer with the cute puppy in his car is abducting you from




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       Stephen M. Howells, II - Sentencing - 12/17/2015                     6


1    your home, from your family, from your community, and then
2    the drugging, and then the degradation and abuse much too

3    graphic to repeat here.      Not knowing what was happening, not

4    knowing what was going to happen, not knowing what the next
5    hour would hold.    How long will you be here?        When will he

6    abuse you again?    What is he doing to your sister?          Will she

7    be okay?    Will you be okay?     Will you ever see your family
8    again?    Twenty-five hours must have seemed an eternity to

9    those young girls.
10               The defense suggests that these acts are state

11   crimes more appropriately addressed in state court.            Not so.

12   The kidnapping was the vehicle used to commit the federal
13   offenses.    The Court cannot put that aside.        The extent to

14   which these defendants would go to satisfy their own wicked

15   and selfish needs takes the meaning of aggravated
16   circumstance to a whole new level.

17               The flaw in the defendant's plan at long last, the
18   flaw that ultimately saved the Amish girls was Stephen

19   Howells' impatience.     He and Vaisey jumped the gun.         They

20   kidnapped the girls before the makeshift soundproof cell they
21   were constructing was finished or even soundproof.            It was

22   only the realization that they could not adequately muffle

23   the cries of the sisters that Howells and Vaisey released
24   them.    The one and the only thing to be said for Stephen

25   Howells is that he did not compound his crimes with murder.




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       Stephen M. Howells, II - Sentencing - 12/17/2015                       7


1    But while the entire community is thankful for the girls'
2    rescue, Howells deserves no medals for releasing them, nor

3    does he deserve a reduced sentence.

4                 The argument he makes that he released them knowing
5    he would be caught is not a factor mitigating his crime.                 Nor

6    does it recognize two important facts.            First, he did not

7    return them.      With Vaisey scouting for police, Howells
8    surreptitiously drove to a remote wooded location where the

9    girls were left on the side of the road.            Second, he made
10   serious and significant efforts to disguise his crimes.                He

11   hid the video evidence on an encrypted drive.              He burned an

12   apron left behind by one of the Amish girls.             He bleached the
13   handcuffs he used on the girls and discarded other evidence

14   that could contain traces of their presence in his house.

15   And he staged the cell he had been building to look like just
16   another room in the house.

17                Howells may have later confessed, but that is not
18   the grand act of contrition the defense characterizes it to

19   be.    Words are insufficient to convey what evil Stephen

20   Howells and Nicole Vaisey brought into this world.               Using
21   children as their personal sex objects, they perpetrated evil

22   that will live on in the memories of the children, their

23   families and the community.          And when words fail us, actions
24   can be a more compelling response.           Here where words are

25   indeed inadequate, the actions of the defendants' former




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       Stephen M. Howells, II - Sentencing - 12/17/2015                        8


1    neighbors expressed most powerfully how vile these crimes
2    were and what impact they had on an entire community.               The

3    neighbors purchased the house where these unspeakable acts

4    occurred and burned it to the ground.         No words can form a
5    better response.    No words could more eloquently capture the

6    essence of the evils committed in that place.

7              Society has no place for those who use their power
8    and influence over the vulnerable, who see children as

9    objects available to them to exploit at will for whatever
10   vile desires they seek to satisfy.        Life sentences are

11   reserved for the most dangerous criminals and the most

12   heinous crimes.    With every child he abused, with every drug
13   he administered, with every video he produced, with every

14   vile idea he put into action, Stephen Howells wrote his own

15   sentence; 580 years and not a minute less.          Thank you.
16             THE COURT:     Ms. Bianco.

17             MS. BIANCO:     Yes, thank you, Judge.        Stephen
18   understands that his criminal conduct has scarred the victims

19   and no one's trying to minimize what they went through.              He

20   is extremely remorseful for what he has done.           During my
21   course of representation of him, he has expressed nothing but

22   remorse, he has accepted responsibility for what he did, and

23   he never tried to minimize his own conduct.
24             And though his conduct is obviously reprehensible,

25   he asks this Court to fashion a sentence that accounts for




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       Stephen M. Howells, II - Sentencing - 12/17/2015                    9


1    the fact that he will serve 25 years in state court for the
2    kidnapping.    And we ask this Court to focus on the particular

3    remaining federal interests involved in this case.

4                The nature of the federal interest here involves
5    coercing young minors to engage in sexually explicit conduct

6    for the purpose of producing visual depictions of such

7    conduct and thereafter possessing those visual depictions.
8    While the nature of the federal offense is appalling, it

9    pales in comparison to the underlying state charges where the
10   actual sexual assaults took place.

11               The state clearly has a more significant interest

12   in prosecuting the kidnapping and sexual abuse charges than
13   the federal court does, especially in light of the fact that

14   the actual acts, actual sexual abuse acts, are punishable in

15   state court, and here what we're talking about is the filming
16   of the sexual abuse, not the acts themselves.           And I would

17   like to point out that the videos themselves, they were never
18   distributed, never.

19               We submit that a federal sentence in this case to

20   be thirty years, a combined sentence, followed by lifetime
21   supervision.    And that would serve to satisfy the purposes of

22   punishment under the Sentencing Reform Act.          The Federal

23   Court, this Court should take into account Stephen's state
24   offenses and focus solely on the remaining residual federal

25   interest.




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  10


1               As I stated, Stephen is going to be sentenced to 25
2    years in state court with 20 years post-release supervision.

3    And those state charges don't implicate any of the federal

4    interests because the acts were not done in or affecting
5    interstate commerce or federal property.         The only federal

6    interest not satisfied by the state sentence is his

7    production, receipt and possession of child pornography.            And
8    since those images were not distributed, we would submit that

9    while the harm is certainly great, it could have been much
10   worse.

11              I would also like this Court to consider Stephen's

12   actions in releasing the victims in this case and his
13   subsequent cooperation with law enforcement.          When the police

14   arrived at Stephen's house, he immediately cooperated with

15   them.    He consented to the search of his house.         He confessed
16   to his guilt.    And he never minimized his conduct,

17   continuously accepting responsibility for what he had done
18   and what he said he forced Nicole Vaisey to do.

19              Now more significant than his accepting

20   responsibility is obviously the fact that he released his
21   last two victims.    And while the prosecution said that he

22   didn't release them to their home, he released them a few

23   blocks from where there were -- where there was a
24   neighborhood where he knew that they could go and get some

25   help.




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  11


1               At the time of the offense Stephen made no attempt
2    to hide his identity.     The victims knew what he looked like.

3    They knew the car that he drove.        They knew the description

4    of the inside of the house.       And when Stephen made a decision
5    to release the victims, approximately 24 hours after the

6    abduction, it wasn't because of their cries or because of his

7    inability to finish the soundproof room; it was because he
8    had genuine remorse for what he had done and he didn't want

9    to continue this.    He knew that when he let those children
10   go, he would likely be arrested and imprisoned.           And had he

11   not released the victims, he may never have been apprehended.

12              If this Court were to ignore Stephen's actions in
13   releasing the victims and his cooperation with law

14   enforcement and his timely plea of guilt, it could send a

15   message to others that they're better off not releasing their
16   victims because they'll end up with the same punishment

17   anyhow.   While Stephen made some horrible, horrible mistakes
18   and he regrets them, he tried to turn it around by letting

19   them go, confessing, consenting to the search and allowing

20   the victims to have some type of life afterward, scarred as
21   they may be.

22              In conclusion, we'd ask this Court to consider a

23   thirty-year sentence with a lifetime supervised release.            We
24   submit that that's sufficient, but not greater than

25   necessary, to satisfy the remaining federal interests




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  12


1    involved in this case.     He is forty years old now.         If this
2    Court were to give him a thirty-year sentence, he would be

3    seventy upon his release.      Stephen would really like to get

4    some help and he has expressed some interest in going to sex
5    offender counseling and he would ask this Court to place him

6    in a facility where there is sex offender counseling such as

7    USP Tucson where he has heard they have an excellent sex
8    offender counseling program.

9              THE COURT:     Ms. Bianco, is it your request that
10   that take priority to his request that he be placed in a

11   facility close to his family in Iowa?

12             MS. BIANCO:     Yes, Your Honor.      He has discussed
13   this with me and he found out about the nature of the program

14   in Tucson and he really wants to be in that.

15             THE COURT:     He would rather be in Tucson?
16             MS. BIANCO:     Yes.

17             THE COURT:     Very well.     Mr. Howells, would you like
18   to be heard before I impose sentence?

19             THE DEFENDANT:      Yes, sir.

20             THE COURT:     Go ahead, sir.
21             THE DEFENDANT:      I would just like to say that this

22   evil that I have done is my own, and that if the victims ever

23   decide to research this further, I want them to know that
24   they did nothing wrong.      They did nothing to cause this to

25   happen to them.    The things that were done to them were my




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  13


1    own illness.   And I want them to hopefully some day be able
2    to let this go, move on with their lives and have a normal

3    existence, hopefully no memory of me.

4              I would also like to say that I took a young woman
5    who had no experiences with love or relationships and twisted

6    her affections around and made her do things that she would

7    never have done on her own to satisfy my own wishes for
8    sexual gratification, and I hope that some day she can

9    forgive me and hopefully have a normal life herself.
10             THE COURT:     Okay, Mr. Howells.      Thank you.

11             The Court's prepared to impose sentence.            The Court

12   has reviewed and considered all the pertinent information,
13   including, but not limited to, the Presentence Investigation

14   Report, the addendum, submissions by counsel, and the

15   Sentencing Guideline Manual, as well as the factors outlined
16   in 18 U.S.C. Section 3553(a).

17             The Court adopts the factual information and the
18   guideline applications contained in the Presentence

19   Investigation Report.     The Court finds the total offense

20   level is 43, the criminal history category is I, and the
21   guideline imprisonment range is life.         However, since no

22   count of conviction carries a potential life sentence, the

23   guideline sentence becomes 580 years, or 6,960 months,
24   pursuant to U.S.S.G. Section 5G1.2(b).         As this is a combined

25   length of the authorized maximum of sentences for Counts 1




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  14


1    through 21.
2               As further instructed at 5G1.2(d), the sentence

3    imposed on each count of conviction shall run consecutively

4    to the extent necessary to produce a combined sentence equal
5    to the total punishment, which again in this case is 580

6    years.

7               Upon your plea of guilty to Counts 1 through 21 of
8    the superseding indictment, it is the judgment of this Court

9    that you are hereby committed to the custody of the Bureau of
10   Prisons to be imprisoned for a term of 6,960 months, or 580

11   years.   This term consists of 360 months on Counts 1 through

12   16, and twenty years on counts 17 through 21, all to be
13   served consecutively.

14              After reviewing all the facts in this case and

15   considering the submissions by counsel, including your
16   psychosexual evaluation and your background, I find no reason

17   to depart or vary from the applicable guideline sentence
18   given this Court's responsibility to impose a sentence that

19   is sufficient, but not greater than necessary, to comply with

20   the purpose of sentencing set forth in 18 U.S.C. Section
21   3553(a).

22              In fact, I find a guideline sentence is absolutely

23   necessary to reflect the seriousness of your numerous crimes
24   against children, to provide just punishment for the extent

25   of these crimes against children, and to deter others from




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       Stephen M. Howells, II - Sentencing - 12/17/2015                  15


1    engaging in the same incomprehensible conduct, that being the
2    sexual exploitation, drugging, kidnapping, restraining and

3    raping of children.     There are few crimes more egregious than

4    these, and I find the sentence imposed today is sufficient,
5    but not greater than necessary, to achieve the goals of

6    sentencing after considering the multitude of aggravating

7    factors, including, but not limited to, the number of
8    children you harmed by satisfying your deviant sadistic

9    sexual desires and the personality traits that enabled you to
10   carry out your violent fantasies with no apparent guilt or

11   remorse.

12              Indeed, as you indicated, you saw them as objects
13   and nothing more but to be there for your own pleasure, the

14   recording of such perverse abuse on numerous occasions over

15   an extended period of time, and the extent of these
16   recordings, which often involved multiple devices set up to

17   capture the abuse from multiple angles, your position as a
18   registered nurse and the use of this position to drug your

19   child victims, some over and over again.         As the records

20   reflect, Victim 3 was found to have ten different drugs in
21   her system.   Notwithstanding your knowledge as a registered

22   nurse, you were aware of the dangers of drugging the children

23   given the internet searches found on your computer and on the
24   computer of your co-defendant, such as researching overdoses,

25   will I die if I take Ambien and Benadryl together.            Moreover,




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       Stephen M. Howells, II - Sentencing - 12/17/2015                     16


1    you are captured on the video administering additional drugs
2    to already sedated children and shining a light into their

3    eyes of these incapacitated children to evaluate the degree

4    of their unconsciousness.      And again, that demonstrates that
5    you are fully aware of the dangerous consequences of you

6    drugging these children, including the possibility of

7    overdose and death.
8              When the victims known to you could no longer

9    satisfy your deviant desires, you and your co-defendant spent
10   months planning to kidnap children to be used as sex slaves.

11   This plan included hours upon hours of driving around looking

12   for children and building a soundproof room in order to
13   imprison them, children, for an indefinite period of time.

14   You and your co-defendant ultimately followed through with

15   this reprehensible plan by kidnapping two Amish children.
16   The Amish people, a symbol of simple and pure life, a life,

17   two lives and many more affected that you destroyed.            They
18   are among the most vulnerable children in our society.              The

19   immense fear and harm you caused to the two victims is

20   unfathomable.   And what you subjected them to is unspeakable.
21   There is absolutely no evidence in the record that supports

22   your current contention that you released these victims

23   knowing you were going to be captured.         To even suggest their
24   release was out of guilt or remorse is incredible.

25             The record before this Court, including your own




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       Stephen M. Howells, II - Sentencing - 12/17/2015                     17


1    post-arrest statements, clearly demonstrates that the only
2    reason you released these children was the realization that

3    your room, your cell which was meant to imprison them was not

4    soundproof.    It was only after this realization that you and
5    your co-defendant discussed your options and took steps to

6    cover your tracks by scouting out a remote location ensuring

7    the absence of law enforcement and getting rid of the
8    evidence of your crimes after releasing the children in a

9    wooded area.    I put no merit in your attorney's argument that
10   you released them in an area where you thought they would be

11   discovered.

12              I've also considered the approximately 15 years you
13   spent victimizing hundreds of other children by amassing an

14   enormous collection of internet child pornography, including

15   bondage, sadistic abuse and torture of very young children.
16   Your collection consisted of tens of thousands of files

17   depicting sexual abuse of children, more than 180,000
18   sexually explicit files involving children whose ages are not

19   readily apparent, and over 1 million files of child and teen

20   erotica.   Of these additional victims 389 children have been
21   identified by law enforcement officials worldwide.            All of

22   these children, including those who haven't yet -- have yet

23   to be identified, are victims of your offense.
24              Finally, this Court has considered the significant

25   impact of your crimes on the community, including the immense




                                  A.197
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       Stephen M. Howells, II - Sentencing - 12/17/2015                   18


1    fear and alarm caused by child abductions.          You are, quite
2    frankly, the threat parents worry about every day who have

3    young children.    You are the predator.       You are the

4    nightmares that never go away for young children.           And most
5    importantly, the unmeasurable harm and trauma that you have

6    caused to each of your child victims and to their families.

7    The lifelong devastation caused by your actions to so many is
8    deserving of the sentence imposed today.

9              For all of these reasons, I find a guideline
10   sentence is warranted, justified and reasonable because you

11   are extremely dangerous and a violent sex offender.            Only a

12   life sentence can ensure the safety of the community, provide
13   just punishment for the profound crimes against children and

14   afford adequate deterrence.       I cannot in good conscience

15   impose a sentence that will ever allow you to have access to
16   children again.

17             As you have requested, I will recommend that you be
18   placed in the federal Bureau of Prisons facility in Tucson,

19   Arizona, which has a sex offender treatment program.            I will

20   also request that when and if you successfully complete that
21   program, that you be placed in a facility in Iowa as close to

22   your family as possible.

23             This Court has imposed a sentence with the
24   understanding that you will not be released from prison.

25   However, in the event that you are released for some reason




                                  A.198
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       Stephen M. Howells, II - Sentencing - 12/17/2015                  19


1    that would be unknown to this Court, I'm going to impose a
2    term of life on each count to run concurrently, a term of

3    life of supervised release.       If applicable, you shall not

4    commit another federal, state or local crime, and you shall
5    comply with the standard conditions that have been adopted by

6    this Court.    Due to the unlikely nature of the fact that you

7    would be released, no special conditions have been imposed at
8    this time.

9              You shall pay to the Clerk of the Court a special
10   assessment of $2,100, which is due and payable immediately.

11   The Court finds you do not have the ability to pay a fine,

12   and therefore no fine is imposed.        You shall also forfeit to
13   the United States all right, title and interest in the items

14   listed in the preliminary order of forfeiture which was

15   signed by this Court on August 4th, 2015.
16             Both parties have a right to appeal this sentence

17   in certain limited circumstances.        You are advised to consult
18   with your attorney to determine whether or not an appeal is

19   warranted.    Any appeal must be filed within 14 days of the

20   judgment being filed in this case.
21             The defendant will be remanded to the custody of

22   the United States Marshal in accordance with the terms of

23   this sentence.
24             Ms. Fletcher, anything further on behalf of the

25   government?




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       Stephen M. Howells, II - Sentencing - 12/17/2015                     20


1              MS. FLETCHER:      Your Honor, only as to the
2    outstanding restitution issue in regard to the internet

3    victims, we ask that the Court issue a scheduling order for

4    briefing on that.
5              THE COURT:     It's my understanding that there was no

6    agreement made between the parties with regard to any amount

7    of restitution, is that right?
8              MS. FLETCHER:      That's correct, Your Honor.

9              THE COURT:     We will set a briefing schedule.
10   Ninety days.

11             THE CLERK:     March 17th.

12             THE COURT:     St. Patricks Day.       I'm not sure you'll
13   find me here.   Ninety days, Ms. Bianco?

14             MS. BIANCO:     That's fine, Your Honor.

15             THE COURT:     That works?     Okay.    Ms. Bianco, is it
16   your wish that your client remain here until this issue is

17   resolved, or do you want him -- I'll give you an opportunity
18   to talk to him if you would like.        I know sometimes it's

19   better to get out of the local facility and get to the

20   Federal Bureau of Prisons.      I'm not sure how long this is
21   going to take beyond the ninety days.         We'll give you an

22   opportunity to brief it and we'll make a determination

23   whether a hearing is necessary.       I don't expect that that
24   would be the case.     But please discuss it with your client

25   and make a determination of what he would like to do.               If he




                                  A.200
        Case 15-4192, Document 28, 05/13/2016, 1771725, Page203 of 213

       Stephen M. Howells, II - Sentencing - 12/17/2015                  21


1    is not going to remain, we're going to have to see some sort
2    of waiver of appearance from you on his behalf.

3              MS. BIANCO:     He would be willing to waive his

4    appearance at any future restitution hearings, if there need
5    be, and he would like to go on his way now.

6              THE COURT:     Mr. Howells, is that true?        You

7    understand that we have to make a determination.           Restitution
8    to the victims of your crimes is a mandatory thing required

9    by this Court.    Your attorney and the U.S. Attorney's Office
10   have not been able to resolve that, so we're going to resolve

11   that through briefing and a possible hearing on the issues.

12   And what your attorney's just indicated to me is that you
13   don't desire to be here for that.        Is that true?

14             THE DEFENDANT:      That's correct.

15             THE COURT:     And you want to be moved out to the
16   Federal Bureau of Prisons?

17             THE DEFENDANT:      Yes.
18             THE COURT:     Okay.    Anything further?

19             MS. FLETCHER:      No, Your Honor.

20             THE COURT:     Ms. Bianco?
21             MS. BIANCO:     No, Your Honor.      Thank you.

22             THE COURT:     Very well.

23             THE CLERK:     Court is adjourned.
24                      *                 *            *

25




                                  A.201
   Case 15-4192, Document 28, 05/13/2016, 1771725, Page204 of 213




                    C E R T I F I C A T I O N



          I, EILEEN MCDONOUGH, RPR, CRR, Federal Official
Realtime Court Reporter, in and for the United States

District Court for the Northern District of New York,

do hereby certify that pursuant to Section 753, Title 28,
United States Code, that the foregoing is a true and correct

transcript of the stenographically reported proceedings held
in the above-entitled matter and that the transcript page

format is in conformance with the regulations of the

Judicial Conference of the United States.




                                ________________________________

                                EILEEN MCDONOUGH, RPR, CRR
                                Federal Official Court Reporter




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                          Case 15-4192, Document 28, 05/13/2016, 1771725, Page205 of 213
  AO 245B     NNY(Rev. 09/12) Judgment in a Criminal Case
              Sheet 1



                                        UNITED STATES DISTRICT COURT
                         Northern                                 District of                                  New York
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             V.

              STEPHEN M. HOWELLS II                                       Case Number:                      DNYN514CR000340-001
                                                                          USM Number:                       21618-052

                                                                          Randi Juda Bianco, OFPD
                                                                          4 Clinton Square, Third Floor
                                                                          Syracuse, New York 13202
                                                                          315-701-0080
                                                                          Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       1 through 21 of the Superseding Indictment on May 8, 2015.
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                            Offense Ended            Count
18 U.S.C. § 2251(a)           Conspiracy to Sexually Exploit Children                                       08/15/2014                 1
18 U.S.C. § 2251(a)           Sexual Exploitation of Children                                               09/07/2013                 2
18 U.S.C. § 2251(a)           Sexual Exploitation of Children                                               10/20/2013                 3
18 U.S.C. § 2251(a)           Sexual Exploitation of Children                                               11/16/2013                 4
       The defendant is sentenced as provided in pages 2 through                7        of this judgment. The sentence is imposed in accordance
with 18 U.S.C. § 3553 and the Sentencing Guidelines.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is        are dismissed on the motion of the United States.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          December 17, 2015
                                                                          Date of Imposition of Judgment




                                                                          December 22, 2015
JAK                                                                       Date


                                                                   A.203
                        Case 15-4192, Document 28, 05/13/2016, 1771725, Page206 of 213
AO 245B    NNY(Rev. 10/05) Judgment in a Criminal Case
           Sheet 1A
                                                                           Judgment—Page   2   of           7
DEFENDANT:                Stephen M. Howells II
CASE NUMBER:              DNYN514CR000340-001

                                        ADDITIONAL COUNTS OF CONVICTION
Title & Section                Nature of Offense                         Offense Ended              Count
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             11/17/2013                 5
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             12/15/2013                 6
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             12/29/2013                 7
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             04/18/2014                 8
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             05/31/2014                 9
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             08/13/2014                10
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             12/16/2012                11
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             09/22/2013                12
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             11/16/2013                13
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             12/13/2013                14
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             01/24/2014                15
18 U.S.C. § 2251(a)            Sexual Exploitation of Children             04/19/2014                16
18 U.S.C. § 2252A(a)(5)(B)     Possession of Child Pornography             08/15/2014               17-21




                                                             A.204
                           Case 15-4192, Document 28, 05/13/2016, 1771725, Page207 of 213
AO 245B     NNY(Rev. 10/05) Judgment in a Criminal Case
            Sheet 2 — Imprisonment

                                                                                                           Judgment — Page   3       of   7
DEFENDANT:                     Stephen M. Howells II
CASE NUMBER:                   DNYN514CR000340-001


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

          6,960 months (or 580 years). This term consists of 360 months on each of Counts 1 through 16 and 20
          years on each of Counts 17 through 21; all to be served consecutively.


     X    The court makes the following recommendations to the Bureau of Prisons:

          The defendant be designated to USP Tucson, where he can participate in a sex offender treatment
          program. Upon completion of sex offender treatment, the Court recommends the defendant be placed in
          a facility close to his family in Iowa.

     X    The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

               at                                           a.m.         p.m.       on                                           .

               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               before 2 p.m. on                                                 .

               as notified by the United States Marshal.

               as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                               to

at                                                        , with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL


                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                        A.205
AO 245B       NNY(Rev. 10/05)Case     15-4192,
                               Judgment in a Criminal Document
                                                      Case       28, 05/13/2016, 1771725, Page208 of 213
              Sheet 3 — Supervised Release
                                                                                                             Judgment—Page       4     of        7
DEFENDANT:                    Stephen M. Howells II
CASE NUMBER:                  DNYN514CR000340-001
                                                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
                                                 LIFE on each count to run concurrently.
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.
         The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
         abuse. (Check, if applicable.)

x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Deselect, if inapplicable.)
x        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
         as directed by the probation officer. (Check, if applicable.)

         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                                 STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment, or if such prior
          notification is not possible, then within five days after such change;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, import, or manufacture any
          and all controlled substance and all controlled substance analogues, as defined in 21 U.S.C. § 802, and any paraphernalia related to any
          controlled substances, except that possession and use of a controlled substance properly prescribed by a licensed medical practitioner
          is permitted;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement;
 14)      the defendant shall not possess a firearm, destructive device, or any other dangerous weapon;
 15)      the defendant shall provide the probation officer with access to any requested financial information; and
 16)      the defendant shall submit his or her person, and any property, house, residence, vehicle, papers, effects, computer, electronic
          communications devices, and any data storage devices or media, to search at any time, with or without a warrant, by any federal
          probation officer, or any other law enforcement officer from whom the Probation Office has requested assistance, with reasonable
          suspicion concerning a violation of a condition of probation or supervised release or unlawful conduct by the defendant. Any items
          seized may be removed to the Probation Office or to the office of their designee for a more thorough examination.

                                                                     A.206
AO 245B                Case
          NNY(Rev. 10/05)       15-4192,
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          Sheet 3C — Supervised Release
                                                                                          Judgment—Page   5   of    7
DEFENDANT:             Stephen M. Howells II
CASE NUMBER:           DNYN514CR000340-001

                                    SPECIAL CONDITIONS OF SUPERVISION


The Court has imposed a sentence with the understanding that the defendant will not be released from prison.
Accordingly, no special conditions have been imposed.


  DEFENDANT’S ACKNOWLEDGMENTOF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.
The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy
of them.


                       Defendant                                                   Date


                       U.S. Probation Officer/Designated Witness                   Date




                                                              A.207
AO 245B   NNY(Rev. 10/05)Case
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                                    in a Criminal Document
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          Sheet 5 — Criminal Monetary Penalties
                                                                                                      Judgment — Page     6       of         7
DEFENDANT:                      Stephen M. Howells II
CASE NUMBER:                    DNYN514CR000340-001
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                                       Fine                                    Restitution
TOTALS           $ 2,100                                          $ Waived                                $ Deferred


X The determination of restitution is deferred for          90 days    . An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                      Total Loss*                    Restitution Ordered                   Priority or Percentage




TOTALS                             $                                      $


     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the fifteenth
     day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to penalties for
     delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          the interest requirement is waived for the           fine        restitution.
          the interest requirement for the           fine         restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




                                                                  A.208
AO 245B   NNY(Rev. 10/05)Case
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          Sheet 6 — Schedule of Payments

                                                                                                        Judgment — Page     7     of        7
DEFENDANT:                Stephen M. Howells II
CASE NUMBER:              DNYN514CR000340-001

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X In full immediately; or
B         Lump sum payment of $                           due immediately, balance due

               not later than                                 , or
               in accordance with        D,        E,           F, or           G below; or

C         Payment to begin immediately (may be combined with               D,          E, or           G below); or

D         Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

E         Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

F         Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

G         Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to Clerk, U.S. District Court, Federal Bldg., 100 S. Clinton Street, P.O. Box 7367, Syracuse, N.Y. 13261-
7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim cannot be located, the restitution
paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the victim is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

     Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
          corresponding payee, if appropriate.


          The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
          of the restitution ordered herein and may order such payment in the future.

     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant’s interest in the following property to the United States:

     All right, title, and interest in the items listed in the Preliminary Order of Forfeiture signed by the Court on August 4, 2015.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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                              Case 15-4192, Document 28, 05/13/2016, 1771725, Page212 of 213

Local Criminal Notice of Appeal Form.
                                                                   NOTICE OF APPEAL
                                                                United States District Court
                                                                Northern District of New York


        UNITED STATES OF AMERICA
                                                                                                                        Docket No.:               14-CR-340 (GTS)
                         -v.-
            STEPHEN M. HOWELLS, II                                                                                                          HON. GLENN T SUDDABY
                                                                                                                                           (District Court Judge)
                                                                                                                                           .-
 Notice is hereby given that                STEPHEN M. HOWELLS, II                                              appeals to the United States Court of Appeals for the Second
 Circuit from the judgment [         X     ] , other[                 ]
                                                                                                                               (specify)

 entered in this action on      DECEMBER 22, 2015                                                                 (date)

 Offense occurred after November 1, 1987                 Yes      I           I   No   I            I
 This appeal concerns: Conviction only |       I         Sentence only    I       I        No   I           I

 Date                   DECEMBER 29, 2015
                                                                                                                         RANDI J. BIANCO, ESQ.
TO                   LISA M. FLETCHER , ESQ.                                                                                    (Counsel for Appellant)

                                                                                       Address                    OFFICE OF THE FEDERAL PUBLIC DEFENDER
 Address      OFFICE OF THE UNITED STATES ATTORNEY
                                                                                                                             4 CLINTON SQUARE, 3RD FLOOR
                  U.S. COURTHOUSE & FEDERAL BLDG.
                                                                                                                               SYRACUSE, NEW YORK 13202
                       SYRACUSE, NEW YORK 13261
                    ADD ADDITIONAL PAGE (IF NECESSARY)                                 Telephone Number:                           315-701-0080


                  TO BE COMPLETED BY ATTORNEY                                                                       TRANSCRIPT INFORMATION -FORM B

                               QUESTIONNAIRE                                                   TRANSCRIPT ORDER                                           DESCRIPTION OF PROCEEDINGS
                                                                                                                                                          FOR WHICH TRANSCRIPT IS
                                                                                                                                                          REQUIRED (INCLUDE DATE)


 [      ]                                                                              Prepare transcript of                                                        Dates
            I am ordering a transcript
 [      ]   I am not ordering a transcript                                             I     I Prepare proceedings
            Reason                                                                     I     I Trial
               [   ] Daily copy is available                                           I     | Sentencing
               [   ] U.S. Attorney has placed order
               [   ] Other. Attach explanation
                                                                                           I            | Post-trial proceedings


     The attorney certifies that he/she will make satisfactory arrangements with the court reporter for payment of the cost of the transcript. (FRAP 10(b)).
     Method of payment         I        | Funds

ATTORNEY'S SIGNATURE                                                                                                    DATE
                                  S/RANDI J. BIANCO, ESQ.                                                                       DECEMBER 29, 2015

                             COURT REPORTER ACKNOWLEDGMENT                                                                     To be completed by Court Reporter and forwarded to
                                                                                                                               Court of Appeals,

               Date order received                                            Estimated completion date                                                          Estimated number
                                                                                                                                                                 of pages

                                                        Date                                                         Signature
                                                                                                                                            (Court Reporter)

                                                           DISTRIBUTE COPIES TO THE FOLLOWING:

1. Original to U.S. District Court (Appeals Clerk).                                                                4.      U.S. Court of Appeals
2. Copy U.S. Attorney's Office.                                                                                    5.      Court Reporter (District Court)
3. Copy to Defendant's Attorney




                                                                                                                                                               USCA-2
                                                                                                                                                               FORM A Rev. 10-02




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